                                       Case 08-02172-RLM-7A          Doc 1006        Filed 04/28/17
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                                                                               ASSET CASES

Case No.:                     08-02172-RLM                                                                                              Trustee Name:                             Deborah J. Caruso
Case Name:                    CHAMP CAR WORLD SERIES, LLC                                                                               Date Filed (f) or Converted (c):          06/23/2008 (c)
For the Period Ending:        3/31/2017                                                                                                 §341(a) Meeting Date:                     08/01/2008
                                                                                                                                        Claims Bar Date:                          11/12/2008

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                          Asset Description                      Petition/             Estimated Net Value                   Property               Sales/Funds             Asset Fully Administered (FA)/
                           (Scheduled and                      Unscheduled            (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
                      Unscheduled (u) Property)                   Value                      Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                     Less Liens, Exemptions,
                                                                                        and Other Costs)

 Ref. #
1       Petty cash                                                        $300.00                              $0.00                                          $0.00                                          FA
2       Commercial checking account at Huntington                   $513,987.62                     $6,506,921.09                                    $6,506,921.09                                           FA
        Nation
3       Deposits with hotels under rooming contracts at              $19,021.50                                $0.00                                          $0.00                                          FA
4       Various artwork, video libraries, collectibles,                  Unknown                      $993,130.00                                    $1,113,472.66                                           FA
5       1,000 MEMBERSHIP UNITS [50%] IN                                  Unknown                               $0.00                                          $0.00                                          FA
        MINARDI TEAM USA
6       100% stockholder in Pro-Motion Agency, Ltd.                         $0.00                              $0.00                                          $0.00                                          FA
7       100% stockholder in CART Licensed Products,                         $0.00                              $0.00                                          $0.00                                          FA
        Inc.
8       100% member in Champ Car World Series                               $0.00                              $0.00                                          $0.00                                          FA
        Portland,
9       100% member in Champ Car World Series                               $0.00                              $0.00                                          $0.00                                          FA
        Cleveland,
10      100% member in Champ Car World Series                               $0.00                              $0.00                                          $0.00                                          FA
        Denver, LL
11      100% member in Champ Car World Series Las                           $0.00                              $0.00                                          $0.00                                          FA
        Vegas,
12      100% member in Champ Car World Series                               $0.00                              $0.00                                          $0.00                                          FA
        Trans-Am,
13      100% stockholder in CART, Inc.                                      $0.00                              $0.00                                          $0.00                                          FA
14      Accounts receivable - trade and other Gross trad           $4,743,956.59                      $200,000.00                                      $291,996.68                                           FA
15      Cash advances to employees for travel expenses                   $9,515.91                             $0.00                                          $0.00                                          FA
16      Contract rights to conduct races                                 Unknown                               $0.00                                          $0.00                                          FA
17      Marketing lists with fans and customers e-mail a                 Unknown                               $0.00                                          $0.00                                          FA
18      [50] COSWORTH XFE ENGINES 2.65L                            $1,000,000.00                               $0.00                                          $0.00                                          FA
        ENGINES USED IN
Asset Notes:         THE CHAMP CAR WORLD SERIES
                     *NOTE: BELIEVED TO BE THE SAME ASSET AS #34
19      [27] COSWORTH ATLANTICS 2.3L POOL                           $381,658.50                                $0.00                                          $0.00                                          FA
        ENGINES USED
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                                                                                   ASSET CASES

Case No.:                  08-02172-RLM                                                                                                     Trustee Name:                             Deborah J. Caruso
Case Name:                 CHAMP CAR WORLD SERIES, LLC                                                                                      Date Filed (f) or Converted (c):          06/23/2008 (c)
For the Period Ending:     3/31/2017                                                                                                        §341(a) Meeting Date:                     08/01/2008
                                                                                                                                            Claims Bar Date:                          11/12/2008

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                       Asset Description                             Petition/             Estimated Net Value                   Property               Sales/Funds             Asset Fully Administered (FA)/
                        (Scheduled and                             Unscheduled            (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
                   Unscheduled (u) Property)                          Value                      Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                         Less Liens, Exemptions,
                                                                                            and Other Costs)

Asset Notes:     IN ATLANTICS RACE SERIES
                 *NOTE: BELIEVED TO BE THE SAME ASSET AS #34
 Ref. #
20      [3] ELAN MOTORSPORTS                                           $665,175.00                                 $0.00                                          $0.00                                          FA
        TECHNOLOGIES DP01 CHASSIS
Asset Notes:       RACED IN THE CHAMP CAR WORLD SERIES
                   *OWNED BY ELAN AND PICKED UP IN THE CHAPTER 11 CASE
21      Trailer: 1998 Featherlite 1075                         $624,750.00                                         $0.00                                          $0.00                                          FA
        4FGL05023WC807691
Asset Notes:     2001 Featherlite 1075 4FGL053281C035015; 2000 Featherlite 1075 4FGL05329YC35017; 2004 Cottrell EZ5307X5E0AU17475G005346; 1998 Kentucky HT 3162 1kkvd50225wl113089;
                 2002 Featherlite 1075 4FGL053252C055451; 1995 Featherlite 4FGL50208SA989345; 1998 Kentucky 1KKVD5021WL113090; 1995 Featherlite 4FGL28209SA949945


                  *NOTE: WITH THE EXCEPTION OF THE 2000 FEATHERLINE 1075 4FGL05329YC035017 AND 1995 FEATHERLINE 4FGGL28209SA949945, WHICH THE TRUSTEE
                  CANNOT LOCATE ON THE SALES REPORT, THESE ASSETS WERE SOLD AT THE AUCTION SALE PRIOR TO THE TRUSTEE'S APPOINTMENT AND THE PROCEEDS
                  WERE DEPOSITED IN THE HUNTINGTON BANK ACCOUNT (Asset #2)
22      Safety Truck 2003 Ford F-150                           $267,500.00                         $0.00                                 $0.00                                                                   FA
        2FTPX18L23CA70840;
Asset Notes:     Safety Truck 2003 Ford F150 2FTPX18L23CA70840; Safety Truck 2003 Ford F150 2FTPX18L23CA70842; Safety Truck 2003 Ford F150 2FTPX18L23CA70843; Safety Truck 2003
                 Ford F150 2FTPX18L23CA70844; Jet 2002 Ford F150 1FTRF17W32NB16045; Shop Truck 2003 Ford F150 2FTPX18L43CA70841; One Car Tractor 1995 Ford F350
                 1FTJX35F8SKA68455; ATV 2002 Kawaski KAF620-G2 JK1AFCG142B504166; MR10 Club Car QG0015-882688; Golf Cart EZ-GO Flat Bed 1146205; Show Car Lola Serial #007,
                 CART #079; Modular Jet Pratt-Whitney Jet Blower/Skid Unit with Storage Caster, Model #j60-p-6, Serial #P673399; Reynard Chassis #2K1035; Swift Chassis #036


                *NOTE: WITH THE EXCEPTION OF THE 2003 FORD F150 2FTPX18X3CA70844, WHICH THE TRUSTEE CANNOT LOCATE ON THE SALES REPORT, THESE ASSETS
                WERE SOLD AT THE AUCTION SALE PRIOR TO THE TRUSTEE'S APPOINTMENT AND THE PROCEEDS WERE DEPOSITED IN THE HUNTINGTON BANK ACCOUNT
                (Asset #2)
23      1997 Honda CR-V JHLRD1849VC038179;                     $15,570.00                      $0.00                               $0.00                                                                         FA
Asset Notes:     1997 Honda CR- V JHLRD 1849VC039517; 1997 Honda CR-V JHLRD 1849VC040224


               *NOTE: THESE ASSETS WERE SOLD AT AUCTION AND THE PROCEEDS WERE DEPOSITED IN THE HUNTINGTON BANK ACCOUNT (Asset #2)
24      1999 BMW M. Coupe                                 $190,000.00                      $0.00                                 $0.00                                                                           FA
        WBSCM9338XLC60310;
Asset Notes:     1999 BMW M Coupe WBSCM9338XLC60310; 1988 Buick Reatta 1G4EC11C6JB900141; 1982 Chevrolet Camaro 1G1AP87H4CN110110; 1986 Chevrolet Camaro
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                                                                                  ASSET CASES

Case No.:                  08-02172-RLM                                                                                                     Trustee Name:                             Deborah J. Caruso
Case Name:                 CHAMP CAR WORLD SERIES, LLC                                                                                      Date Filed (f) or Converted (c):          06/23/2008 (c)
For the Period Ending:     3/31/2017                                                                                                        §341(a) Meeting Date:                     08/01/2008
                                                                                                                                            Claims Bar Date:                          11/12/2008

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                       Asset Description                            Petition/              Estimated Net Value                   Property               Sales/Funds             Asset Fully Administered (FA)/
                        (Scheduled and                            Unscheduled             (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
                   Unscheduled (u) Property)                         Value                       Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                         Less Liens, Exemptions,
                                                                                            and Other Costs)

                 1G1FP87H8GL182600; 1982 Chevrolet Camaro 1G1AP87H9CL109286; 1987 Chrysler LeBaron 1C3BJ55EOHG105278; 1996 Chrysler Sebring 3C3EL55H5TT201056; 1991 Dodge Stealth
                 JB3XE74CXMY000030; 1996 Dodge Viper 1b3ER69E7TV100554; 1006 Dodge Ram 1BHC16Z3TS522202; 1998 Ford Contour 1FALP68GOWK100101; 1998 Ford Contour
                 1FALP68GXWK100106; 1998 Ford Contour 1FALP68G9WK1001001999 BMW M Coupe WBSCM9338XLC60310; 1988 Buick Reatta 1G4EC11C6JB900141; 1982 Chevrolet Camaro
                 1G1AP87H4CN110110; 1986 Chevrolet Camaro 1G1FP87H8GL182600; 1982 Chevrolet Camaro 1G1AP87H9CL109286; 1987 Chrysler LeBaron 1C3BJ55EOHG105278; 1996 Chrysler
                 Sebring 3C3EL55H5TT201056; 1991 Dodge Stealth JB3XE74CXMY000030; 1996 Dodge Viper 1b3ER69E7TV100554; 1006 Dodge Ram 1BHC16Z3TS522202; 1998 Ford Contour
                 1FALP68GOWK100101; 1998 Ford Contour 1FALP68GXWK100106; 1998 Ford Contour 1FALP68G9WK100100


                 *NOTE: WITH THE EXCEPTION OF THE 1996 DODGE RAM 1B7HC16Z3TS5222202, WHICH THE TRUSTEE CANNOT LOCATE ON THE SALES REPORT, THESE ASSETS
                 WERE SOLD AT THE AUCTION SALE PRIOR TO THE TRUSTEE'S APPOINTMENT AND THE PROCEEDS WERE DEPOSITED IN THE HUNTINGTON BANK ACCOUNT
                 (Asset #2)
 Ref. #
25      1999 Ford Mustang 1FAFP46V5XF100060;                          $110,000.00                                  $0.00                                          $0.00                                          FA
Asset Notes:     1999 Ford Mustang 1FAFP46V5XF100060; 1999 Ford Mustang 1FAFP46V5XF100061; 1991 Ford F150 1FTDF15Y3MLA14421; 1994 Ford Mustang Cobra 1FALP45TORF100098;
                 1988 GMC Sierra 1GTDC14KJZ501219; 2000 Nissan Maxima JN1CA31D4YT500012; 1988 Olds Cutlass 1G3WM14W3JD300029; 2006 Ford Mustang 1ZVHT85H355100205


                  *NOTE: WITH THE EXCEPTION OF THE 2000 NISSAN MAXIMA JN1CA31D4YT500012 AND 2006 FORD MUSTANG 1ZVHT85H355100205 WHICH THE TRUSTEE
                  CANNOT TRACK WITH THE SALES REPORT AND THE OTHER MUSTANGS THAT MAY BE SUBJECT TO AVOIDANCE ACTIONS, THESE ASSETS WERE SOLD AT
                  AUCTION AND THE PROCEEDS WERE DEPOSITED INTO THE HUNTINGTON BANK ACCOUNT (Asset #2)
26      Various scooters in various conditions:                  $2,400.00                        $0.00                              $0.00                                                                       FA
Asset Notes:      2000 Honda Elite 50 3H1AF1606YD100351; 2000 Honda Elite 50 3H1AF1605YD100437; 2000 Honda Elite 50 3H1AF1608YD100464; 2001 Honda Elite 3H1AF16041D202304; 1996
                  Honda EZ90 Cub JH2HE0606TK700097; 1996 Honda EZ90 Cub JH2HE0604TK700101; 1996 Honda EZ90 Cub JH2HE060XTK700097; 1996 Honda EZ90 Cub JH2HE0606TK700116;
                  1996 Honda EZ90 Cub JH2HE0603TK700123; 1996 Honda EZ90 Cub JH2HE0606TK700150
                  *SOLD AT AUCTION-INCLUDED IN ASSET #2
27      Various scooters in various conditions:                            $6,850.00                            $0.00                                      $0.00                                                 FA
Asset Notes:     2000 Yamaha Zuma VG54UYA021A115701; 1994 Honda SC22 IHFSC2267RA600685; 1993 Honda Spree 3H1AF1603PD400914; 1993 Honda Spree 3H1AF1600PD400904; 2002 Honda
                 0006651; 2005 Piaggio Typhoon 50 ZAPC29C1555001444; 2005 Piaggio Typhoon 50 ZAPC29C1055001447; 2005 Piaggio Typhoon 50 ZAPC29C1455001452; 2005 Piaggio Typhoon 50
                 ZAPC29C1255001450; 2005 Piaggio Typhoon 50 ZAPC29C1355001443


                  *NOTE: THE TRUSTEE WAS ONLY ABLE TO LOCATE 10 OF THE SCOOTERS ON THE SALES REPORT THAT WERE SOLD AT AUCTION AND PROCEEDS WERE
                  DEPOSITED IN TO THE HUNTINGTON BANK ACCOUNT. THE TRUSTEE HAS NOT BEEN ABLE TO LOCATE ANY OTHER SCOOTERS.
28      Various office equipment, electronics, etc. for       $504,900.00                      $0.00                               $0.00                                                                         FA
Asset Notes:     *NOTE: THESE ASSETS WERE SOLD AT AUCTION PRIOR TO THE APPOINTMENT OF THE TRUSTEE AND THE PROCEEDS WERE DEPOSITED INTO THE
                 HUNTINGTON BANK ACCOUNT (Asset #2)
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                                                                                             ASSET CASES

Case No.:                      08-02172-RLM                                                                                                                 Trustee Name:                             Deborah J. Caruso
Case Name:                     CHAMP CAR WORLD SERIES, LLC                                                                                                  Date Filed (f) or Converted (c):          06/23/2008 (c)
For the Period Ending:         3/31/2017                                                                                                                    §341(a) Meeting Date:                     08/01/2008
                                                                                                                                                            Claims Bar Date:                          11/12/2008

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                          Asset Description                                     Petition/                 Estimated Net Value                    Property               Sales/Funds             Asset Fully Administered (FA)/
                           (Scheduled and                                     Unscheduled                (Value Determined by                    Abandoned              Received by            Gross Value of Remaining Assets
                      Unscheduled (u) Property)                                  Value                          Trustee,                   OA =§ 554(a) abandon.         the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

29       Office furniture and fixtures                                             $17,816.00                                      $0.00                                           $0.00                                         FA
30       Bridges, barriers, etc. (Denver & Miami)                                  $85,000.00                              $10,000.00                                       $10,000.00                                           FA
31       American Express Credit balance refund                     (u)                Unknown                             $13,500.46                                       $13,505.25                                           FA
32       Marsh Settlement                                           (u)                Unknown                                $623.28                                            $623.28                                         FA
33       COBRA remittance                                           (u)                Unknown                              $1,177.65                                        $1,177.65                                           FA
34       [93] COSWORTH XFE ENGINES                                                     Unknown                           $600,000.00                                       $600,000.00                                           FA
35       Premium Remittance--Infinisource                           (u)                Unknown                              $5,287.34                                        $5,287.34                                           FA
36       Banquet Ticket Refund--Featherlite, Inc.                   (u)                   $0.00                               $200.00                                            $200.00                                         FA
37       Refund of retainer--Hoover Hull, LLP                       (u)                Unknown                              $6,718.16                                        $6,718.16                                           FA
38       Indiana State Tax Refund                                   (u)                Unknown                                $487.84                                            $487.84                                         FA
39       Potential Preference, Fraudulant Conveyance                (u)                Unknown                           $136,900.00                                        $57,689.00                                           FA
Asset Notes:        Actions and other Avoidance Actions and Legal Claims and Causes of Actions.
40       Refund for cancelled Champ Car World Series                (u)                Unknown                              $1,000.00                                        $1,000.00                                           FA
         awar
41       Refund due to insurance policy cancellations               (u)                Unknown                             $10,119.92                                       $10,119.92                                           FA
42       Federal Tax Refund                                         (u)                Unknown                              $4,781.06                                        $4,781.06                                           FA
43       Return of Unexpended Costs                                 (u)                   $0.00                               $152.00                                            $152.00                                         FA
44       Refund from Plexus Groupe LLC-insurance                    (u)                   $0.00                               $257.65                                            $257.65                                         FA
         premium
45       Refund of credit balance AT&T                              (u)                   $0.00                             $2,139.62                                        $2,139.62                                           FA
46       Receivable                                                 (u)                   $0.00                          $250,000.00                                               $0.00                                 $250,000.00
Asset Notes:        Amount may increase or decrease depending on conversion from Swiss Francs to US Dollars.
INT      Interest Earned                                            (u)                Unknown                              Unknown                                         $90,637.70                                           FA


TOTALS (Excluding unknown value)                                                                                                                                                                   Gross Value of Remaining Assets
                                                                                 $9,158,401.12                         $8,743,396.07                                      $8,717,166.90                              $250,000.00




      Major Activities affecting case closing:
       04/25/2017      Trustee's Counsel is in the process of requesting funds from bankruptcy court.
       10/06/2016      Attorney for Trustee sent email to Sarah Hilber regarding signed waiver need to file Motion for Turnover.
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                                                                                          ASSET CASES

Case No.:                  08-02172-RLM                                                                                                                  Trustee Name:                             Deborah J. Caruso
Case Name:                 CHAMP CAR WORLD SERIES, LLC                                                                                                   Date Filed (f) or Converted (c):          06/23/2008 (c)
For the Period Ending:     3/31/2017                                                                                                                     §341(a) Meeting Date:                     08/01/2008
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                                                                                                     Less Liens, Exemptions,
                                                                                                        and Other Costs)

     03/24/2016     efiled COS re: Order Granting Motion to Reopen Bankruptcy Case and Notice of Reappointment of Trustee
                    Distributed order accordingly.
     03/15/2016     Efiled Notice of Appearances for DJC and MRT
     03/10/2016     Efiled Motion to Reopen case.
     10/10/2013     mailed letter to Lauth Investigation indicating trustee will not be pursuing asset indicated in letter dated 08/02/2013
     11/28/2012     mailed letter to AT&T indicating case is closed. cced: Michael Freeborn.
     08/23/2012     mailed letter to CA Franchise Tax Board instructing them not to contact Trustee re: outstanding funds due. Case is closed.
     07/12/2012     resent TDR to UST.
     05/21/2012     Emailed TDR to UST. Closed bank account.
     03/23/2012     efiled notice of unclaimed dividends re: Fedex Kinkos
     03/08/2012     faxed (685-7580) 2011 federal returns to Karen Benell (685-759).
                    Recvd call from Karen, returns received.
     02/29/2012     Efiled unclaimed dividends with court (claim 48, 10, and comp for BDO Hernandez Marron y Cia, SC. Mailed funds to Court.
     02/20/2012     Mailed prompt determination letter to IRS, signed electronic filing form to BGBC, and signed IDR forms.
     01/16/2012     mailed reissued check to Angela Rowland at Debtor Acquisition Co.
     01/09/2012     received call from Angela Rowland. She received the check 5040 today. However, a stop payment was entered on 01/04/12. Will reissue check on 01/13/12.
     01/04/2012     Received call from Angela Rowland, Debtor Acquistion Co, (619-220-8900 x107). She has not received funds for claim #35. Has received funds for claims #33 and 34.
     12/30/2011     Received a call from Dr. Timms who did not receive his check so I stopped payment on the check
     12/30/2011     reissued check to Dr. Timms and per Dr. Timms sent check to 46 Wylly Ave., savannah, Ga. 31406
     12/21/2011     Did distribution. All amounts over $95,000 were sent via UPS next day.
     12/16/2011     returned mail from Fleishman-Hillard, Inc., 875 N. Michigan Ave, chicago, IL 60611; resent to 200 E. Randolph St, Ste 3700, Chicago, IL 60601-6513
     12/08/2011     Recv'd return mail on Rusport, Inc., 6771 E. 45th St, Loveland, CO 80538-6148. No forwarding address available.
                    Googled company, address on internet is 604 8th St SE, Loveland, CA 80537. Forwarded mail to 8th St address
     12/02/2011     recv'd return mail re:
                    Harmonic Inc. updated mailing matrix with new address: 4300 N. 1st St, San Jose, CA 95134-1258
                    Pacific Coast Motorpsorts, box closed
                    CART, Inc. returned to sender unable to forward. Address on website is same as listed on bk.
     11/29/2011     Filed App for comp, nfr, and order. Sent NFR to all creditors. Objection date 12/20/11.
     11/29/2011     Filed Notice of Abandonment for Property located at Burke Lakefront Airport. (MRT)
     11/22/2011     sent corrected TFR to UST. dw
     11/21/2011     mailed checks to State of CA, MO Dept of Revenue & BDO Hernandez Marron & CIA dw
     11/09/2011     resubmitted TFR to UST, adding additional claim. (dw)
     10/31/2011     sent forms 1&2 to BGBC. (dw)
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                                                                                          ASSET CASES

Case No.:                  08-02172-RLM                                                                                                                Trustee Name:                             Deborah J. Caruso
Case Name:                 CHAMP CAR WORLD SERIES, LLC                                                                                                 Date Filed (f) or Converted (c):          06/23/2008 (c)
For the Period Ending:     3/31/2017                                                                                                                   §341(a) Meeting Date:                     08/01/2008
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                                                                                                     Less Liens, Exemptions,
                                                                                                        and Other Costs)

     10/26/2011     emailed TFR to UST
     10/17/2011     Spk to Texas Controller's Office (1-800-252-8880, Ref #12001468599). A 2008 TX Annual and Final Reports RE: Franchise Tax, stating "No Tax Due" needs to be filed with the State
                    of TX. Forms can be faxed to 513-475-0433 attn: Franchise Tax Account Maintenance.
     10/05/2011     uploaded order for 2nd omnibus objection to claims. (dw)
     10/03/2011     Paid Professional fees of Rubn&Levin, Dale&Eke and BGBC Partners per Court Orders entered 9-29-2011
     09/21/2011     efiled certificate of service re: hearing on omnibus objection claim 22 (dw)
     09/14/2011     Sent notice of hearing re: claim 22 set for 09/29/11 at 10 am, rm 329 via e-mail and US Mail to Mr. Wang and by Fed Ex and US mail to Mr. Low. (dw)
     09/07/2011     efiled request for hearing on 2nd omnibus objection to claims (dw)
     09/07/2011     efiled 3rd omnibus objection to claims. Response due 10/07/11 (dw)
     08/31/2011     efiled omnibus objection to claim 22 (dw). Response due by 09/30/11
     08/31/2011     Filed Trustee's Objection to Claim No. 22 & Order. Response Date:9/30/11
     07/25/2011     The Certificates of Deposit were closed and moved to the Money Market to accomodate the transfer from Sterling Bank to Bank of Texas.
     07/21/2011     Called Court to delete previously upload omnibus order and uploaded revised omnibus order. (MRT)
     07/20/2011     The Trustee received additional documentation for Brinkworth and will allow the calim and withdraw her objection.
     07/20/2011     uploaded omnibus order
     07/14/2011     The Trustee has reviewed the responses to claims and has determined to allow the following claims as filed:


                    1. Media Loft - 12
                    2. Dan Jones - 52
                    3. Rick Timms - 70
                    4. Brener Zwikel & Associates - claim number 36


                    The Trustee will receive additional documentation in support of the claims of Marriott (#38) and Brinkworth (#13).
     06/30/2011     the following claimants responded to the Omnibus Objection and have submitted additional documentation which the Trustee is reviewing:


                    1. Dan Jones - claim number 52
                    2. Brener Zwikel & Associates - claim number 36
                    3. Marriott - claim number 38
                    4. Timms, Rick - claim number 70
     06/15/2011     efiled omnibus objection. Response deadline is 07/15/11
     06/13/2011     The wire to Global Media Services for payment of administrative claims bounced back so today a check was issued to Global Media Services for $71,656.00 per the Court Order entered
                    on 5/25/11
     06/10/2011     Per Court Order dated 05/24/11 wire transferred $71,656 to Global Media Services for payment of administrative claim.
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                                                                                           ASSET CASES

Case No.:                   08-02172-RLM                                                                                                                     Trustee Name:                                Deborah J. Caruso
Case Name:                  CHAMP CAR WORLD SERIES, LLC                                                                                                      Date Filed (f) or Converted (c):             06/23/2008 (c)
For the Period Ending:      3/31/2017                                                                                                                        §341(a) Meeting Date:                        08/01/2008
                                                                                                                                                             Claims Bar Date:                             11/12/2008

                                1                                                2                              3                                   4                          5                                         6

                       Asset Description                                      Petition/                 Estimated Net Value                     Property                  Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                      Unscheduled                (Value Determined by                     Abandoned                 Received by             Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                   Value                          Trustee,                    OA =§ 554(a) abandon.            the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

     12/30/2010     Avoidance Actions against insiders and insider entities have resulted in reduction of filed claims in the sum of ______. Settlement of other claims have resulted in further reduction of
                    claims in the sum of ______.
     11/18/2010     Filed Application to Pay Accountant.
     11/17/2010     Filed Application to Pay Counsel for Trustee
     10/15/2009     Filed Motion to Settle Claims of DL Ventures.
                    08/08/08 Filed Report of Possible Assets
                    08/20/08 Filed Application to Employ JWE as Counsel for Trustee
                    11/18/08 Filed App to Pay Bond Premium
                    12/11/08 Filed App to Pay Gallivan
                    10/13/09 Filed Second App to Pay ADP
                    10/13/09 Paid Connor & Assoc and France Corbel as Admin Expenses
                    10/15/09 Paid R&L July and August Invoices


Initial Projected Date Of Final Report (TFR):          06/30/2010                            Current Projected Date Of Final Report (TFR):              12/31/2018                 /s/ DEBORAH J. CARUSO
                                                                                                                                                                                   DEBORAH J. CARUSO
                                      Case 08-02172-RLM-7A         Doc 1006            Filed 04/28/17
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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                                Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                 Bank Name:                         Bank of Texas
Primary Taxpayer ID #:             **-***7780                                                                                  Checking Acct #:                  ******0085
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                    DDA
For Period Beginning:              4/1/2016                                                                                    Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                   Separate bond (if applicable):

       1                2                                   3                                        4                                               5               6                  7

   Transaction       Check /                          Paid to/            Description of Transaction                           Uniform            Deposit       Disbursement          Balance
      Date            Ref. #                       Received From                                                              Tran Code             $                $


07/27/2011                     Sterling Bank                       Transfer Funds                                              9999-000           $28,588.90                            $28,588.90
07/27/2011                     Sterling Bank                       Transfer Funds                                              9999-000        $6,966,583.02                          $6,995,171.92
07/28/2011           5001      Office 360                          payment of April, 2011 storage charges                      2420-000                                   $422.19     $6,994,749.73
07/28/2011           5002      Office 360                          payment for May, 2011 storage                               2420-000                                   $422.19     $6,994,327.54
07/28/2011           5003      Office 360                          Payment of storage fees for June, 2011                      2420-000                                   $422.19     $6,993,905.35
08/03/2011           5004      Office 360                          payment of monthly storage charges                          2420-000                                   $422.19     $6,993,483.16
08/12/2011                     Bank of Texas                       Bank Service Fee                                            2600-000                                  $1,093.15    $6,992,390.01
08/28/2011           5001      Clerk, US Bankruptcy Court          filing fees in Adv Pro #10-50022                            2700-000                                   $250.00     $6,992,140.01
08/28/2011           5002      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50095                             2700-000                                   $250.00     $6,991,890.01
08/28/2011           5003      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50096                             2700-000                                   $250.00     $6,991,640.01
08/28/2011           5004      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50097                             2700-000                                   $250.00     $6,991,390.01
08/28/2011           5005      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50098                             2700-000                                   $250.00     $6,991,140.01
08/28/2011           5006      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50099                             2700-000                                   $250.00     $6,990,890.01
08/28/2011           5007      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50100                             2700-000                                   $250.00     $6,990,640.01
08/28/2011           5008      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50101                             2700-000                                   $250.00     $6,990,390.01
08/28/2011           5009      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50102                             2700-000                                   $250.00     $6,990,140.01
08/28/2011           5010      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50105                             2700-000                                   $250.00     $6,989,890.01
08/28/2011           5011      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50118                             2700-000                                   $250.00     $6,989,640.01
08/28/2011           5012      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50401                             2700-000                                   $250.00     $6,989,390.01
08/28/2011           5013      Clerk of the Bankruptcy Court       filing fee in Adv Pro #10-50403                             2700-000                                   $250.00     $6,989,140.01
09/15/2011                     Bank of Texas                       Account Analysis Fee                                        2600-000                                  $5,647.94    $6,983,492.07
09/23/2011           5014      Office 360                          monthly storage charge                                      2420-000                                   $422.19     $6,983,069.88
10/03/2011           5015      Rubin & Levin, PC                   payment of attorneys fees per Court Order entered on        3210-000                             $353,445.90       $6,629,623.98
                                                                   9/29/2011
10/03/2011           5016      Rubin & Levin, PC                   payment of expenses per Court Order entered on              3220-000                                  $9,887.28    $6,619,736.70
                                                                   9/29/2011
10/03/2011           5017      DALE & EKE, PC                      payment of attorneys fees per Court Order entered on        3110-000                               $65,372.00      $6,554,364.70
                                                                   9/29/2011

                                                                                                                              SUBTOTALS        $6,995,171.92        $440,807.22
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                                     Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                      Bank Name:                         Bank of Texas
Primary Taxpayer ID #:             **-***7780                                                                                       Checking Acct #:                  ******0085
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                    DDA
For Period Beginning:              4/1/2016                                                                                         Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                        Separate bond (if applicable):

       1                2                                 3                                            4                                                 5                6                  7

   Transaction       Check /                            Paid to/               Description of Transaction                           Uniform            Deposit       Disbursement          Balance
      Date            Ref. #                         Received From                                                                 Tran Code             $                $


10/03/2011           5018      DALE & EKE, PC                           payment of expenses per Court Order entered on              3120-000                                   $455.75     $6,553,908.95
                                                                        9/29/2011
10/03/2011           5019      BGBC Partners, LLP                       payment of fees per Court Order entered on 9/29/2011        3410-000                               $66,221.91      $6,487,687.04
10/12/2011           5020      Office 360                               Monthly storage charges                                     2420-000                                   $422.19     $6,487,264.85
10/12/2011           5021      Office 360                               Payment to destroy records per Court Order                  2420-000                                  $4,131.00    $6,483,133.85
10/12/2011           5022      Office 360                               storage payment for October and November                    2420-000                                   $844.39     $6,482,289.46
10/17/2011                     Bank of Texas                            Account Analysis Fee                                        2600-000                                  $5,465.75    $6,476,823.71
11/18/2011           5023      MISSOURI DEPARTMENT OF                   payment of allowed claim per Court Order dated              2820-000                                   $462.00     $6,476,361.71
                               REVENUE                                  10/20/11
11/18/2011           5024      State of California                      payment of allowed claim per Court Order dated              2820-000                                  $1,626.10    $6,474,735.61
                                                                        10/20/2011
11/18/2011           5025      Deborah J. Caruso                        payment of allowed expense per Court Order entered on       2200-000                                  $1,250.00    $6,473,485.61
                                                                        6/28/2011
11/18/2011           5025      VOID: Deborah J. Caruso                  void check                                                  2200-003                               ($1,250.00)     $6,474,735.61
11/18/2011           5026      BDO HERNANDEZ MARRON Y CIA,              payment of allowed expense per Court Order entered          3732-000                                  $1,250.00    $6,473,485.61
                               S.C.                                     6/28/2011
12/21/2011           5027      Deborah J. Caruso                        Trustee Expenses                                            2200-000                                  $3,248.25    $6,470,237.36
12/21/2011           5028      Deborah J. Caruso                        Trustee Compensation                                        2100-000                             $284,700.82       $6,185,536.54
12/21/2011           5029      State of New York, Department of Labor    Account Number: ; Claim #: 88; Distribution Dividend:      5800-000                                   $436.34     $6,185,100.20
                                                                        100.00;
12/21/2011           5030      Internal Revenue Service                  Account Number: ; Claim #: 46; Distribution Dividend:      5800-000                                  $4,505.51    $6,180,594.69
                                                                        100.00;
12/21/2011           5031      U.S. Trustee                              Account Number: ; Claim #: 61; Distribution Dividend:      5800-000                                  $9,750.00    $6,170,844.69
                                                                        100.00;
12/21/2011           5032      USIS Commericial Services, Inc            Account Number: ; Claim #: 2; Distribution Dividend:       7100-000                                    $15.70     $6,170,828.99
                                                                        38.90;
12/21/2011           5033      Bishop Steering Technology, Inc.          Account Number: ; Claim #: 4; Distribution Dividend:       7100-000                               $13,650.28      $6,157,178.71
                                                                        38.90;
12/21/2011           5034      Fedex Kinko's                            Account Number: ; Claim #: 15; Distribution Dividend:       7100-000                                    $51.96     $6,157,126.75
                                                                        38.90;
                                                                                                                                   SUBTOTALS                 $0.00       $397,237.95
                                      Case 08-02172-RLM-7A                      Doc 1006          Filed 04/28/17
                                                                                                      FORM   2               EOD 04/28/17 17:48:10           Pg 10 of Page
                                                                                                                                                                      35 No: 3
                                                                                CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                                          Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                           Bank Name:                         Bank of Texas
Primary Taxpayer ID #:             **-***7780                                                                                            Checking Acct #:                  ******0085
Co-Debtor Taxpayer ID #:                                                                                                                 Account Title:                    DDA
For Period Beginning:              4/1/2016                                                                                              Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                             Separate bond (if applicable):

       1                2                                   3                                                  4                                              5                6                  7

   Transaction       Check /                             Paid to/                      Description of Transaction                         Uniform           Deposit       Disbursement          Balance
      Date            Ref. #                          Received From                                                                      Tran Code            $                $


12/21/2011           5035      Video Monitoring Services of America, LP          Account Number: ; Claim #: 20; Distribution Dividend:    7100-000                                 $1,597.36    $6,155,529.39
                                                                                38.90;
12/21/2011           5036      VFS Leasing Co.                                   Account Number: ; Claim #: 24; Distribution Dividend:    7100-000                              $53,999.72      $6,101,529.67
                                                                                38.90;
12/21/2011           5037      American Express Travel Related Svcs Co           Account Number: ; Claim #: 29; Distribution Dividend:    7100-000                                   $54.16     $6,101,475.51
                                                                                38.90;
12/21/2011           5038      Debt Acquisition Company of America V,            Account Number: ; Claim #: 33; Distribution Dividend:    7100-000                                  $147.83     $6,101,327.68
                               LLC                                              38.90;
12/21/2011           5039      Debt Acquisition Company of America V,            Account Number: ; Claim #: 34; Distribution Dividend:    7100-000                                 $9,725.74    $6,091,601.94
                               LLC                                              38.90;
12/21/2011           5040      Debt Acquisition Company of America V,           Account Number: ; Claim #: 35; Distribution Dividend:     7100-000                              $11,926.19      $6,079,675.75
                               LLC                                              38.90;
12/21/2011           5041      Brener Zwikel & Associates, Inc.                  Account Number: ; Claim #: 36; Distribution Dividend:    7100-000                                 $7,409.70    $6,072,266.05
                                                                                38.90;
12/21/2011           5042      J.J. Keller & Associates                          Account Number: ; Claim #: 37; Distribution Dividend:    7100-000                                  $324.61     $6,071,941.44
                                                                                38.90;
12/21/2011           5043      Marriott Intl., Inc. on behalf of the Monterey    Account Number: ; Claim #: 38; Distribution Dividend:    7100-000                              $19,818.73      $6,052,122.71
                               Marriott                                         38.90;
12/21/2011           5044      ALJ Capital II, L.P.                              Account Number: ; Claim #: 44; Distribution Dividend:    7100-000                           $1,192,376.16      $4,859,746.55
                                                                                38.90;
12/21/2011           5045      Ms. Angela Saltzman                               Account Number: ; Claim #: 48; Distribution Dividend:    7100-000                                 $1,167.09    $4,858,579.46
                                                                                38.90;
12/21/2011           5046      Lombardi Properties                               Account Number: ; Claim #: 49; Distribution Dividend:    7100-000                                 $1,665.05    $4,856,914.41
                                                                                38.90;
12/21/2011           5047      SpeedTime Inc.                                    Account Number: ; Claim #: 50; Distribution Dividend:    7100-000                                 $2,334.18    $4,854,580.23
                                                                                38.90;
12/21/2011           5048      Legault Joly Thiffault in Trust                   Account Number: ; Claim #: 51; Distribution Dividend:    7100-000                            $317,769.58       $4,536,810.65
                                                                                38.90;
12/21/2011           5049      Universal Print Solutions                         Account Number: ; Claim #: 54; Distribution Dividend:    7100-000                                  $241.44     $4,536,569.21
                                                                                38.90;

                                                                                                                                         SUBTOTALS                $0.00     $1,620,557.54
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                                                                                                                                                              35 No: 4
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                                  Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                   Bank Name:                         Bank of Texas
Primary Taxpayer ID #:             **-***7780                                                                                    Checking Acct #:                  ******0085
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                    DDA
For Period Beginning:              4/1/2016                                                                                      Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                     Separate bond (if applicable):

       1                2                                   3                                          4                                              5                6                  7

   Transaction       Check /                           Paid to/                Description of Transaction                         Uniform           Deposit       Disbursement          Balance
      Date            Ref. #                        Received From                                                                Tran Code            $                $


12/21/2011           5050      Sim & McBurney                            Account Number: ; Claim #: 55; Distribution Dividend:    7100-000                                 $2,025.42    $4,534,543.79
                                                                        38.90;
12/21/2011           5051      Safety 1 Motorsports Safety Consulting    Account Number: ; Claim #: 56; Distribution Dividend:    7100-000                                  $118.83     $4,534,424.96
                                                                        38.90;
12/21/2011           5052      Nielsen Media Research, Inc.              Account Number: ; Claim #: 59; Distribution Dividend:    7100-000                                  $872.83     $4,533,552.13
                                                                        38.90;
12/21/2011           5053      HOLMATRO INCORPORATED                     Account Number: ; Claim #: 60; Distribution Dividend:    7100-000                              $16,766.00      $4,516,786.13
                                                                        38.90;
12/21/2011           5054      Sherwin-Williams Automotive Finishes      Account Number: ; Claim #: 62; Distribution Dividend:    7100-000                                  $947.65     $4,515,838.48
                                                                        38.90;
12/21/2011           5055      Willis Capital LLC                        Account Number: ; Claim #: 64; Distribution Dividend:    7100-000                            $486,287.18       $4,029,551.30
                                                                        38.90;
12/21/2011           5056      21st Century Racing Holdings LLC          Account Number: ; Claim #: 66; Distribution Dividend:    7100-000                            $486,287.18       $3,543,264.12
                                                                        38.90;
12/21/2011           5057      MULLIN PRODUCTION GROUP                   Account Number: ; Claim #: 69; Distribution Dividend:    7100-000                              $97,257.44      $3,446,006.68
                                                                        38.90;
12/21/2011           5058      Timms, Rick                              Account Number: ; Claim #: 70; Distribution Dividend:     7100-000                              $31,112.65      $3,414,894.03
                                                                        38.90;
12/21/2011           5059      Carl A. Haas Automobile Imports, Inc.     Account Number: ; Claim #: 73; Distribution Dividend:    7100-000                           $1,021,009.37      $2,393,884.66
                                                                        38.90;
12/21/2011           5060      Hewland Engineering                       Account Number: ; Claim #: 74; Distribution Dividend:    7100-000                            $486,287.18       $1,907,597.48
                                                                        38.90;
12/21/2011           5061      Mi-Jack Promotions, LLC                   Account Number: ; Claim #: 79; Distribution Dividend:    7100-000                            $997,861.29        $909,736.19
                                                                        38.90;
12/21/2011           5062      Argo Partners                             Account Number: ; Claim #: 82; Distribution Dividend:    7100-000                                 $2,042.41     $907,693.78
                                                                        38.90;
12/21/2011           5063      Ingram Entertainment, Inc.                Account Number: ; Claim #: 86; Distribution Dividend:    7100-000                            $242,074.60        $665,619.18
                                                                        38.90;
12/21/2011           5064      Hoover Hull LLP                           Account Number: ; Claim #: 89; Distribution Dividend:    7100-000                                 $6,260.27     $659,358.91
                                                                        38.90;

                                                                                                                                 SUBTOTALS                $0.00     $3,877,210.30
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                                                                                                                                                                 35 No: 5
                                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                                     Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                      Bank Name:                         Bank of Texas
Primary Taxpayer ID #:             **-***7780                                                                                       Checking Acct #:                  ******0085
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                    DDA
For Period Beginning:              4/1/2016                                                                                         Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                        Separate bond (if applicable):

       1                2                                   3                                             4                                              5                6                  7

   Transaction       Check /                             Paid to/                 Description of Transaction                         Uniform           Deposit       Disbursement          Balance
      Date            Ref. #                          Received From                                                                 Tran Code            $                $


12/21/2011           5065      Blue Horseshoe Solutions, Inc.               Account Number: ; Claim #: 90; Distribution Dividend:    7100-000                                  $583.54      $658,775.37
                                                                           38.90;
12/21/2011           5066      Koorsen Fire & Security                      Account Number: ; Claim #: 1; Distribution Dividend:     7100-000                                  $131.17      $658,644.20
                                                                           38.90;
12/21/2011           5067      Gordon Productions, LLC                      Account Number: ; Claim #: 6; Distribution Dividend:     7100-000                                  $494.65      $658,149.55
                                                                           38.90;
12/21/2011           5068      David E. Deal and Dan Jones & Associates,    Account Number: ; Claim #: 9; Distribution Dividend:     7100-000                            $139,661.93        $518,487.62
                               Inc.                                        38.90;
12/21/2011           5069      Square One Design, Inc.                      Account Number: ; Claim #: 10; Distribution Dividend:    7100-000                                   $82.54      $518,405.08
                                                                           38.90;
12/21/2011           5070      Husar's Corporate Gifts & Promotions         Account Number: ; Claim #: 11; Distribution Dividend:    7100-000                              $29,490.50       $488,914.58
                                                                           38.90;
12/21/2011           5071      The Media Loft, Inc.                         Account Number: ; Claim #: 12; Distribution Dividend:    7100-000                              $11,885.56       $477,029.02
                                                                           38.90;
12/21/2011           5072      Brinkworth Model & Design Consultants        Account Number: ; Claim #: 13; Distribution Dividend:    7100-000                              $13,173.91       $463,855.11
                               LTD                                         38.90;
12/21/2011           5073      Perrin Promotions LLC                        Account Number: ; Claim #: 14; Distribution Dividend:    7100-000                                 $3,890.30     $459,964.81
                                                                           38.90;
12/21/2011           5074      PSAV Presentation Services                   Account Number: ; Claim #: 16; Distribution Dividend:    7100-000                              $13,331.28       $446,633.53
                                                                           38.90;
12/21/2011           5075      Christopher R. O'Brien                       Account Number: ; Claim #: 21; Distribution Dividend:    7100-000                                 $4,084.81     $442,548.72
                                                                           38.90;
12/21/2011           5076      Mark Shoemaker                               Account Number: ; Claim #: 47; Distribution Dividend:    7100-000                                  $521.46      $442,027.26
                                                                           38.90;
12/21/2011           5077      RuSport, Inc                                 Account Number: ; Claim #: 19; Distribution Dividend:    7100-000                            $165,866.72        $276,160.54
                                                                           38.90;
12/21/2011           5078      ALJ Capital I, L.P.                          Account Number: ; Claim #: 44; Distribution Dividend:    7100-000                            $266,485.37           $9,675.17
                                                                           38.90;
12/21/2011           5079      Ticketmaster, LLC                            Account Number: ; Claim #: 3; Distribution Dividend:     7100-000                                  $960.90         $8,714.27
                                                                           38.90;

                                                                                                                                    SUBTOTALS                $0.00       $650,644.64
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                                                                                                                                                               35 No: 6
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                                   Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                    Bank Name:                         Bank of Texas
Primary Taxpayer ID #:             **-***7780                                                                                     Checking Acct #:                  ******0085
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:                    DDA
For Period Beginning:              4/1/2016                                                                                       Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                      Separate bond (if applicable):

       1                2                                   3                                           4                                              5                6                  7

   Transaction       Check /                          Paid to/                  Description of Transaction                         Uniform           Deposit       Disbursement          Balance
      Date            Ref. #                       Received From                                                                  Tran Code            $                $


12/21/2011           5080      Dave Hollander                            Account Number: ; Claim #: 93; Distribution Dividend:    7100-000                                  $8,714.27              $0.00
                                                                        38.90;
12/30/2011           5058      STOP PAYMENT: Timms, Rick                Account Number: ; Claim #: 70; Distribution Dividend:     7100-004                              ($31,112.65)       $31,112.65
                                                                        38.90;
12/30/2011           5081      Deborah J. Caruso                        Trustee's expenses                                        2200-003                               $31,112.65                $0.00
12/30/2011           5081      VOID: Deborah J. Caruso                  void check                                                2200-003                              ($31,112.65)       $31,112.65
12/30/2011           5082      Timms, Rick                              payment to claimant                                       7100-000                               $31,112.65                $0.00
01/04/2012           5040      STOP PAYMENT: Debt Acquisition           Account Number: ; Claim #: 35; Distribution Dividend:     7100-004                              ($11,926.19)       $11,926.19
                               Company of America V, LLC                38.90;
01/12/2012           5083      Debt Acquisition Company of America V,   reissued final distribution                               7100-000                               $11,926.19                $0.00
                               LLC
02/22/2012           5026      VOID: BDO HERNANDEZ MARRON Y             void check                                                3732-003                               ($1,250.00)         $1,250.00
                               CIA, S.C.
02/22/2012           5045      VOID: Ms. Angela Saltzman                void check                                                7100-003                               ($1,167.09)         $2,417.09
02/22/2012           5069      VOID: Square One Design, Inc.            void check                                                7100-003                                    ($82.54)       $2,499.63
02/22/2012           5084      Clerk of the Bankruptcy Court            voided stale check and reissued to Bankruptcy Clerk       3732-000                                  $1,250.00        $1,249.63
02/22/2012           5085      Clerk of the Bankruptcy Court            voided stale check to claim #48 and reissued to the       7100-000                                  $1,167.09          $82.54
                                                                        Bankruptcy Clerk
02/22/2012           5086      Clerk of the Bankruptcy Court            voided stale check for claim #10 and reissued to the      7100-000                                     $82.54              $0.00
                                                                        Bankruptcy Clerk
03/23/2012           5034      STOP PAYMENT: Fedex Kinko's              Stop Payment for Check# 5034                              7100-004                                    ($51.96)         $51.96
03/23/2012           5087      Clerk, US Bankruptcy Court               Unclaimed Funds                                           7100-001                                     $51.96              $0.00




                                                                                                                                 SUBTOTALS                 $0.00            $8,714.27
                                    Case 08-02172-RLM-7A          Doc 1006       Filed 04/28/17
                                                                                     FORM   2            EOD 04/28/17 17:48:10                     Pg 14 of Page
                                                                                                                                                            35 No: 7
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          08-02172-RLM                                                                               Trustee Name:                         Deborah J. Caruso
Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                Bank Name:                            Bank of Texas
Primary Taxpayer ID #:            **-***7780                                                                                 Checking Acct #:                      ******0085
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                        DDA
For Period Beginning:             4/1/2016                                                                                   Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                3/31/2017                                                                                  Separate bond (if applicable):

      1                 2                                3                                    4                                                    5                   6                 7

  Transaction        Check /                         Paid to/         Description of Transaction                              Uniform           Deposit          Disbursement          Balance
     Date             Ref. #                      Received From                                                              Tran Code            $                   $


                                                                                TOTALS:                                                       $6,995,171.92         $6,995,171.92                $0.00
                                                                                    Less: Bank transfers/CDs                                  $6,995,171.92                 $0.00
                                                                                Subtotal                                                              $0.00         $6,995,171.92
                                                                                    Less: Payments to debtors                                         $0.00                 $0.00
                                                                                Net                                                                   $0.00         $6,995,171.92



                     For the period of 4/1/2016 to 3/31/2017                                              For the entire history of the account between 07/27/2011 to 3/31/2017

                     Total Compensable Receipts:                     $0.00                                Total Compensable Receipts:                                     $0.00
                     Total Non-Compensable Receipts:                 $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $0.00                                Total Comp/Non Comp Receipts:                                   $0.00
                     Total Internal/Transfer Receipts:               $0.00                                Total Internal/Transfer Receipts:                       $6,995,171.92


                     Total Compensable Disbursements:                $0.00                                Total Compensable Disbursements:                        $6,995,171.92
                     Total Non-Compensable Disbursements:            $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:              $0.00                                Total Comp/Non Comp Disbursements:                      $6,995,171.92
                     Total Internal/Transfer Disbursements:          $0.00                                Total Internal/Transfer Disbursements:                          $0.00
                                      Case 08-02172-RLM-7A      Doc 1006           Filed 04/28/17
                                                                                       FORM   2     EOD 04/28/17 17:48:10          Pg 15 of Page
                                                                                                                                            35 No: 8
                                                                CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         08-02172-RLM                                                                 Trustee Name:                      Deborah J. Caruso
 Case Name:                       CHAMP CAR WORLD SERIES, LLC                                                  Bank Name:                         Bank of Texas
Primary Taxpayer ID #:            **-***7780                                                                   Checking Acct #:                  ******4385
Co-Debtor Taxpayer ID #:                                                                                       Account Title:
For Period Beginning:             4/1/2016                                                                     Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                3/31/2017                                                                    Separate bond (if applicable):

       1                2                           3                                          4                                    5                6                  7

   Transaction       Check /                      Paid to/             Description of Transaction               Uniform           Deposit       Disbursement          Balance
      Date            Ref. #                   Received From                                                   Tran Code            $                $


03/18/2016            (45)     AT&T                             Refund of credit balance                       1229-000           $2,139.62                                 $2,139.62
03/31/2016                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $0.98          $2,138.64
04/29/2016                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.33          $2,135.31
05/31/2016                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.43          $2,131.88
06/30/2016                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.32          $2,128.56
07/29/2016                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.42          $2,125.14
08/31/2016                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.41          $2,121.73
09/30/2016                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.30          $2,118.43
10/31/2016                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.40          $2,115.03
11/30/2016                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.29          $2,111.74
12/30/2016                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.39          $2,108.35
01/31/2017                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.40          $2,104.95
02/28/2017                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.06          $2,101.89
03/31/2017                     Bank of Texas                    Account Analysis Fee                           2600-000                                    $3.39          $2,098.50




                                                                                                              SUBTOTALS            $2,139.62             $41.12
                                    Case 08-02172-RLM-7A          Doc 1006       Filed 04/28/17
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                                                                                                                                                            35 No: 9
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          08-02172-RLM                                                                               Trustee Name:                         Deborah J. Caruso
Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                Bank Name:                            Bank of Texas
Primary Taxpayer ID #:            **-***7780                                                                                 Checking Acct #:                      ******4385
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:             4/1/2016                                                                                   Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                3/31/2017                                                                                  Separate bond (if applicable):

      1                 2                                3                                    4                                                     5                  6                 7

  Transaction        Check /                         Paid to/         Description of Transaction                              Uniform           Deposit          Disbursement          Balance
     Date             Ref. #                      Received From                                                              Tran Code            $                   $


                                                                                TOTALS:                                                            $2,139.62                $41.12         $2,098.50
                                                                                    Less: Bank transfers/CDs                                           $0.00                 $0.00
                                                                                Subtotal                                                           $2,139.62                $41.12
                                                                                    Less: Payments to debtors                                          $0.00                 $0.00
                                                                                Net                                                                $2,139.62                $41.12



                     For the period of 4/1/2016 to 3/31/2017                                              For the entire history of the account between 03/18/2016 to 3/31/2017

                     Total Compensable Receipts:                     $0.00                                Total Compensable Receipts:                                 $2,139.62
                     Total Non-Compensable Receipts:                 $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $0.00                                Total Comp/Non Comp Receipts:                               $2,139.62
                     Total Internal/Transfer Receipts:               $0.00                                Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:               $40.14                                Total Compensable Disbursements:                                 $41.12
                     Total Non-Compensable Disbursements:            $0.00                                Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:             $40.14                                Total Comp/Non Comp Disbursements:                               $41.12
                     Total Internal/Transfer Disbursements:          $0.00                                Total Internal/Transfer Disbursements:                            $0.00
                                     Case 08-02172-RLM-7A           Doc 1006          Filed 04/28/17
                                                                                          FORM   2               EOD 04/28/17 17:48:10                      Pg 17 of Page
                                                                                                                                                                     35 No: 10
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         08-02172-RLM                                                                                       Trustee Name:                         Deborah J. Caruso
 Case Name:                       CHAMP CAR WORLD SERIES, LLC                                                                        Bank Name:                            Sterling Bank
Primary Taxpayer ID #:            **-***7780                                                                                         Certificate of Deposits Acct #:       ******1998
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:
For Period Beginning:             4/1/2016                                                                                           Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                3/31/2017                                                                                          Separate bond (if applicable):

       1                2                                 3                                        4                                                         5                 6                 7

   Transaction       Check /                           Paid to/            Description of Transaction                                 Uniform            Deposit         Disbursement          Balance
      Date            Ref. #                        Received From                                                                    Tran Code             $                  $


11/17/2009                     Transfer From Acct#******2172        Transfer to open CD                                               9999-000        $7,650,000.00                            $7,650,000.00
05/17/2010           (INT)     Sterling Bank                        Interest Earned For May                                           1270-000          $28,451.71                             $7,678,451.71
11/14/2010           (INT)     Sterling Bank                        Interest Earned For November                                      1270-000          $20,984.26                             $7,699,435.97
12/16/2010                     Rubin & Levin, PC                    Per Court Order Dated 12/15/2010 Attorney for Trustee             3210-000                                $823,919.60      $6,875,516.37
                                                                    Fees
12/16/2010                     Rubin & Levin, PC                    Per Court Order Dated 12/15/2010 Attorney for the                 3220-000                                 $27,570.40      $6,847,945.97
                                                                    Trustee Expenses
12/16/2010                     BGBC Partners, LLP                   Per Court Order Dated 12/15/2010 Accountant Fees                  3410-000                                $202,691.65      $6,645,254.32
12/16/2010                     BGBC Partners, LLP                   Per Court Order Dated 12/15/2010 Accountant Expenses              3420-000                                     $8,738.46   $6,636,515.86
05/14/2011           (INT)     Sterling Bank                        Interest Earned For May                                           1270-000             $3,381.25                           $6,639,897.11
07/25/2011           (INT)     Sterling Bank                        Account Closing Interest As Of 7/25/2011                          1270-000             $1,309.78                           $6,641,206.89
07/25/2011                     Transfer To: #******2172                                                                               9999-000                              $6,641,206.89                $0.00

                                                                                      TOTALS:                                                         $7,704,127.00         $7,704,127.00                $0.00
                                                                                          Less: Bank transfers/CDs                                    $7,650,000.00         $6,641,206.89
                                                                                      Subtotal                                                           $54,127.00         $1,062,920.11
                                                                                          Less: Payments to debtors                                           $0.00                 $0.00
                                                                                      Net                                                                $54,127.00         $1,062,920.11



                     For the period of 4/1/2016 to 3/31/2017                                                      For the entire history of the account between 11/17/2009 to 3/31/2017

                     Total Compensable Receipts:                          $0.00                                   Total Compensable Receipts:                                $54,127.00
                     Total Non-Compensable Receipts:                      $0.00                                   Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                        $0.00                                   Total Comp/Non Comp Receipts:                              $54,127.00
                     Total Internal/Transfer Receipts:                    $0.00                                   Total Internal/Transfer Receipts:                       $7,650,000.00


                     Total Compensable Disbursements:                     $0.00                                   Total Compensable Disbursements:                        $1,062,920.11
                     Total Non-Compensable Disbursements:                 $0.00                                   Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                   $0.00                                   Total Comp/Non Comp Disbursements:                      $1,062,920.11
                     Total Internal/Transfer Disbursements:               $0.00                                   Total Internal/Transfer Disbursements:                  $6,641,206.89
                                     Case 08-02172-RLM-7A         Doc 1006           Filed 04/28/17
                                                                                         FORM   2               EOD 04/28/17 17:48:10                     Pg 18 of Page
                                                                                                                                                                   35 No: 11
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         08-02172-RLM                                                                                      Trustee Name:                         Deborah J. Caruso
 Case Name:                       CHAMP CAR WORLD SERIES, LLC                                                                       Bank Name:                            Sterling Bank
Primary Taxpayer ID #:            **-***7780                                                                                        Certificate of Deposits Acct #:       ******1999
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:             4/1/2016                                                                                          Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                3/31/2017                                                                                         Separate bond (if applicable):

       1                2                                 3                                      4                                                        5                   6                 7

   Transaction       Check /                         Paid to/            Description of Transaction                                  Uniform           Deposit          Disbursement          Balance
      Date            Ref. #                      Received From                                                                     Tran Code            $                   $


11/17/2009                     Transfer From Acct#******2172      Transfer to open CD                                                9999-000        $300,000.00                               $300,000.00
02/16/2010           (INT)     Sterling Bank                      Interest Earned For February                                       1270-000             $243.27                              $300,243.27
05/18/2010           (INT)     Sterling Bank                      Interest Earned For May                                            1270-000             $261.99                              $300,505.26
08/17/2010           (INT)     Sterling Bank                      Interest Earned For August                                         1270-000             $262.22                              $300,767.48
11/16/2010           (INT)     Sterling Bank                      Interest Earned For November                                       1270-000              $74.98                              $300,842.46
02/15/2011           (INT)     Sterling Bank                      Interest Earned For February                                       1270-000              $75.00                              $300,917.46
05/17/2011           (INT)     Sterling Bank                      Interest Earned For May                                            1270-000              $75.02                              $300,992.48
06/09/2011                     Transfer To Acct#******2172        transfer funds to pay Court Ordered Administrative claim           9999-000                                $100,000.00       $200,992.48
                                                                  of Global Media Services
07/25/2011           (INT)     Sterling Bank                      Account Closing Interest As Of 7/25/2011                           1270-000              $44.57                              $201,037.05
07/25/2011                     Transfer To: #******2172                                                                              9999-000                                $201,037.05                $0.00

                                                                                    TOTALS:                                                           $301,037.05            $301,037.05                $0.00
                                                                                        Less: Bank transfers/CDs                                      $300,000.00            $301,037.05
                                                                                    Subtotal                                                            $1,037.05                  $0.00
                                                                                        Less: Payments to debtors                                           $0.00                  $0.00
                                                                                    Net                                                                 $1,037.05                  $0.00



                     For the period of 4/1/2016 to 3/31/2017                                                     For the entire history of the account between 11/17/2009 to 3/31/2017

                     Total Compensable Receipts:                        $0.00                                    Total Compensable Receipts:                                 $1,037.05
                     Total Non-Compensable Receipts:                    $0.00                                    Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                      $0.00                                    Total Comp/Non Comp Receipts:                               $1,037.05
                     Total Internal/Transfer Receipts:                  $0.00                                    Total Internal/Transfer Receipts:                         $300,000.00


                     Total Compensable Disbursements:                   $0.00                                    Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:               $0.00                                    Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                 $0.00                                    Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:             $0.00                                    Total Internal/Transfer Disbursements:                    $301,037.05
                                     Case 08-02172-RLM-7A         Doc 1006           Filed 04/28/17
                                                                                         FORM   2               EOD 04/28/17 17:48:10                     Pg 19 of Page
                                                                                                                                                                   35 No: 12
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         08-02172-RLM                                                                                      Trustee Name:                         Deborah J. Caruso
 Case Name:                       CHAMP CAR WORLD SERIES, LLC                                                                       Bank Name:                            Sterling Bank
Primary Taxpayer ID #:            **-***7780                                                                                        Certificate of Deposits Acct #:       ******3921
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:             4/1/2016                                                                                          Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                3/31/2017                                                                                         Separate bond (if applicable):

       1                2                                 3                                      4                                                        5                   6                 7

   Transaction       Check /                         Paid to/            Description of Transaction                                  Uniform           Deposit          Disbursement          Balance
      Date            Ref. #                      Received From                                                                     Tran Code            $                   $


09/10/2010                     Transfer From Acct#******2172      Transfer to CD account                                             9999-000        $150,000.00                               $150,000.00
09/24/2010                     Transfer To Acct#******2172        Transfer to checking account for payment of attorney               9999-000                                 $19,000.00       $131,000.00
                                                                  fees.
11/08/2010           (INT)     Sterling Bank                      Interest Earned For November                                       1270-000              $11.15                              $131,011.15
01/07/2011           (INT)     Sterling Bank                      Interest Earned For January                                        1270-000              $10.76                              $131,021.91
01/24/2011                     Transfer To Acct#******2172                                                                           9999-000                                     $7,250.00    $123,771.91
03/08/2011           (INT)     Sterling Bank                      Interest Earned For March                                          1270-000              $10.34                              $123,782.25
05/07/2011           (INT)     Sterling Bank                      Interest Earned For May                                            1270-000              $10.17                              $123,792.42
07/06/2011           (INT)     Sterling Bank                      Interest Earned For July                                           1270-000              $10.17                              $123,802.59
07/14/2011           (INT)     Sterling Bank                      Account Closing Interest As Of 7/14/2011                           1270-000                 $1.35                            $123,803.94
07/14/2011                     Transfer To: #******2172                                                                              9999-000                                $123,803.94                $0.00

                                                                                    TOTALS:                                                           $150,053.94            $150,053.94                $0.00
                                                                                        Less: Bank transfers/CDs                                      $150,000.00            $150,053.94
                                                                                    Subtotal                                                               $53.94                  $0.00
                                                                                        Less: Payments to debtors                                           $0.00                  $0.00
                                                                                    Net                                                                    $53.94                  $0.00



                     For the period of 4/1/2016 to 3/31/2017                                                     For the entire history of the account between 09/10/2010 to 3/31/2017

                     Total Compensable Receipts:                        $0.00                                    Total Compensable Receipts:                                    $53.94
                     Total Non-Compensable Receipts:                    $0.00                                    Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                      $0.00                                    Total Comp/Non Comp Receipts:                                  $53.94
                     Total Internal/Transfer Receipts:                  $0.00                                    Total Internal/Transfer Receipts:                         $150,000.00


                     Total Compensable Disbursements:                   $0.00                                    Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:               $0.00                                    Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                 $0.00                                    Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:             $0.00                                    Total Internal/Transfer Disbursements:                    $150,053.94
                                      Case 08-02172-RLM-7A                Doc 1006             Filed 04/28/17
                                                                                                   FORM   2               EOD 04/28/17 17:48:10          Pg 20 of Page
                                                                                                                                                                  35 No: 13
                                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                                      Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                       Bank Name:                        JPMORGAN CHASE BANK,
                                                                                                                                                                       N.A.
Primary Taxpayer ID #:             **-***7780                                                                                        Money Market Acct #:              ******9865
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                    Money Market Account
For Period Beginning:              4/1/2016                                                                                          Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                         Separate bond (if applicable):

       1                2                                    3                                             4                                              5                6                  7

   Transaction       Check /                           Paid to/                   Description of Transaction                          Uniform           Deposit       Disbursement          Balance
      Date            Ref. #                        Received From                                                                    Tran Code            $                $


06/27/2008            (4)      Gallivan Auction                           Sale of Personal Property at auction (wire transfer)        1129-000        $988,000.00                            $988,000.00
06/30/2008           (INT)     JPMORGAN CHASE BANK, N.A.                  Interest posting at 0.1500%                                 1270-000             $20.25                            $988,020.25
07/08/2008           1001      Ernie Neal, II                             Consulting Services: Invoice No. 2008-0002                  3731-000                                 $500.00       $987,520.25
07/09/2008            (4)      Norman J. Gallivan, Inc.                   Champ Car Static Auction                                    1129-000          $5,130.00                            $992,650.25
07/10/2008            (31)     American Express Travel Related Services   Credit balance refund                                       1229-000         $13,446.49                           $1,006,096.74
                               Co.
07/10/2008            (32)     Marsh Settlement Fund                      Marsh Settlement                                            1249-000            $623.28                           $1,006,720.02
07/10/2008            (33)     Infinisource                               COBRA remittance                                            1229-000          $1,177.65                           $1,007,897.67
07/15/2008            (2)      Wire Transfer from Huntington Bank         Wire transfer from Huntington Bank                          1129-000       $6,506,921.09                          $7,514,818.76
07/16/2008            (14)     City Centre Raceway GP LTD                 A/R (Grand Prix Edmonton)                                   1121-000        $120,000.00                           $7,634,818.76
07/17/2008            (4)      JPMorgan Chase                             Wire Transfer from Norman J. Gallivan, Inc.                 1129-000        $120,342.66                           $7,755,161.42
07/23/2008            (14)     Tony J. Cotman                             Accounts Receivable                                         1121-000            $372.50                           $7,755,533.92
07/23/2008            (35)     Infinisource                               Premium remittance                                          1290-000          $3,044.28                           $7,758,578.20
07/23/2008            (36)     Featherlite, Inc.                          Banquet ticket refund                                       1290-000            $200.00                           $7,758,778.20
07/23/2008            (37)     Hoover Hull LLP                            Refund of retainer                                          1290-000          $6,718.16                           $7,765,496.36
07/30/2008                     JP Morgan Chase                            Outgoing wire transfer to Ingram Entertainment per Court    2410-000                              $17,133.68      $7,748,362.68
                                                                          Order dated 07/29/08
07/31/2008            (38)     Auditor of State of Indiana                State Tax Refund                                            1224-000            $487.84                           $7,748,850.52
07/31/2008           (INT)     JPMORGAN CHASE BANK, N.A.                  Interest posting at 0.7500%                                 1270-000          $2,329.18                           $7,751,179.70
08/06/2008            (14)     City Centre Raceway GP LTD                 Reversed Deposit 100003 1 A/R (Grand Prix Edmonton)-        1121-000       ($120,000.00)                          $7,631,179.70
                                                                          -CHECK RETURNED FOR INSUFFICIENT FUNDS
08/13/2008            (14)     JPMorgan Chase Bank                        A/R (Grand Prix Edmonton/City Centre Raceway GP             1121-000        $119,813.00                           $7,750,992.70
                                                                          LTD--Foreign Check Deposit/Credit)
08/15/2008            (31)     American Express Travel Related Services   Credit refund                                               1229-000                $1.28                         $7,750,993.98
08/15/2008            (31)     American Express Travel Related Services   Credit balance refund                                       1229-000                $4.79                         $7,750,998.77
08/15/2008            (31)     American Express Travel Related Services   Credit balance refund                                       1229-000                $9.58                         $7,751,008.35
08/15/2008            (31)     American Express Travel Related Services   Credit balance refund                                       1229-000             $19.16                           $7,751,027.51


                                                                                                                                     SUBTOTALS       $7,768,661.19         $17,633.68
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                                                                                                                                                           35 No: 14
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                               Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                Bank Name:                        JPMORGAN CHASE BANK,
                                                                                                                                                                N.A.
Primary Taxpayer ID #:             **-***7780                                                                                 Money Market Acct #:              ******9865
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                    Money Market Account
For Period Beginning:              4/1/2016                                                                                   Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                  Separate bond (if applicable):

       1                2                                  3                                         4                                             5                6                  7

   Transaction       Check /                           Paid to/              Description of Transaction                        Uniform          Deposit        Disbursement          Balance
      Date            Ref. #                        Received From                                                             Tran Code           $                 $


08/20/2008           1002      Indiana Department of Revenue        Taxpayer ID 0108774147-000; Liability No:                 5800-000                                   $250.00     $7,750,777.51
                                                                    2006-08446684; Notice No: 08023538739
08/21/2008            (40)     Treasurer of City of Phoenix, AZ     Refund for cancelled Champ Car World Series awards        1221-000           $1,000.00                           $7,751,777.51
                                                                    dinner
08/21/2008           1003      The Plexus Groupe, Inc.              Payment of management liability insurance premium per     2420-750                                  $8,980.00    $7,742,797.51
                                                                    Court Order dated 08/20/08
08/22/2008            (35)     Infinisource                         Premium Remittance Refund                                 1290-000           $2,243.06                           $7,745,040.57
08/25/2008            (30)     Andretti Green Promotions, LLC       Sale of Bridges                                           1129-000          $10,000.00                           $7,755,040.57
08/29/2008           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.7500%                               1270-000           $4,602.51                           $7,759,643.08
09/04/2008            (31)     American Express                     Credit balance refund                                     1229-000                 $4.79                         $7,759,647.87
09/04/2008            (31)     American Express                     Credit balance refund                                     1229-000              $14.37                           $7,759,662.24
09/15/2008           1004      Norman J. Gallivan, Inc.             Administrative expense per Court Order dated              3610-000                             $167,473.44       $7,592,188.80
                                                                    09/11/2008
09/15/2008           1004      Norman J. Gallivan, Inc.             Administrative expense per Court Order dated              3610-003                            ($167,473.44)      $7,759,662.24
                                                                    09/11/2008
09/16/2008           1005      Normal J. Gallivan, Inc.             Administrative Expense per Court Order dated 09/11/08     3610-000                               $16,473.44      $7,743,188.80
09/18/2008            (14)     ADP Tax Filing Service               Refund                                                    1121-000             $781.18                           $7,743,969.98
09/18/2008            (14)     ADP Tax Filing Service               Refund                                                    1121-000           $4,456.14                           $7,748,426.12
09/30/2008           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.7500%                               1270-000           $5,098.42                           $7,753,524.54
10/07/2008           1006      Now Records Service, Inc.            Storage of Documents                                      2420-000                                   $497.64     $7,753,026.90
10/13/2008           1007      Gene Cottingham                      Plan Adminstrator Fee per Court Order dated 10/02/08      3991-000                                  $1,000.00    $7,752,026.90
10/28/2008            (14)     IMS Productions                      A/R                                                       1121-000             $304.00                           $7,752,330.90
10/29/2008                     To Account #********9866             Transfer to Checking                                      9999-000                                  $2,600.00    $7,749,730.90
10/31/2008           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6000%                               1270-000           $4,617.74                           $7,754,348.64
11/11/2008           1008      Now Records                          Invoice date 10/31/08                                     2420-000                                   $440.14     $7,753,908.50
11/26/2008            (14)     AOL LLC                              Refund on account                                         1121-000                 $0.13                         $7,753,908.63
11/26/2008            (14)     AOL LLC                              Refund on account                                         1121-000                 $0.25                         $7,753,908.88
11/26/2008            (14)     American Express                     Refund on account                                         1121-000                 $4.79                         $7,753,913.67

                                                                                                                             SUBTOTALS           $33,127.38         $30,241.22
                                     Case 08-02172-RLM-7A           Doc 1006            Filed 04/28/17
                                                                                            FORM   2               EOD 04/28/17 17:48:10          Pg 22 of Page
                                                                                                                                                           35 No: 15
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                               Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                Bank Name:                        JPMORGAN CHASE BANK,
                                                                                                                                                                N.A.
Primary Taxpayer ID #:             **-***7780                                                                                 Money Market Acct #:              ******9865
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                    Money Market Account
For Period Beginning:              4/1/2016                                                                                   Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                  Separate bond (if applicable):

       1                2                                    3                                       4                                             5                6                  7

   Transaction       Check /                           Paid to/            Description of Transaction                          Uniform          Deposit        Disbursement          Balance
      Date            Ref. #                        Received From                                                             Tran Code           $                 $


11/26/2008            (14)     American Express                     Refund on account                                         1121-000                 $9.58                         $7,753,923.25
11/28/2008           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.4000%                               1270-000           $2,802.36                           $7,756,725.61
12/02/2008            (14)     Leroy & Morton Productions           A/R                                                       1121-000              $60.00                           $7,756,785.61
12/09/2008           1009      NowRecords                           Invoice dated 11/30/08, per Court Order dated 10/06/08    2420-000                                   $466.99     $7,756,318.62
12/11/2008           1010      Norman J. Gallivan, Inc.             Payment for Storage of Engines                            2420-000                                  $2,285.00    $7,754,033.62
12/15/2008           1011      International Sureties, LTD          Payment of Ch 7 Trustee Bond per Court Order dated        2300-000                                  $5,818.00    $7,748,215.62
                                                                    12/12/08
12/18/2008            (34)     Fifth Third Bank Cashiers Check      Good Faith deposit per Asset Purchase Agreement re:       1129-000          $27,500.00                           $7,775,715.62
                                                                    Cosworth engines
12/22/2008            (34)     Fifth Third Bank                     Sale of Cosworth Assets                                   1129-000         $572,500.00                           $8,348,215.62
12/24/2008                     To Account #********9866             transfer to pay Court Ordered Chapter 11 Attorney's       9999-000                             $100,000.00       $8,248,215.62
                                                                    Fees
12/29/2008                     To Account #********9866             TRANSFER FUNDS FROM MONEY MARKET TO                       9999-000                               $20,000.00      $8,228,215.62
                                                                    CHECKING
12/31/2008           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.2000%                               1270-000           $2,186.59                           $8,230,402.21
01/06/2009           1012      Rubin & Levin                        Attorney for CC Fees per Court Order dated 12/24/08       6700-140                             $217,925.00       $8,012,477.21
01/06/2009           1013      Rubin & Levin                        Attorney for CC Expenses per Court Order dated            6710-150                                  $1,558.20    $8,010,919.01
                                                                    12/24/08
01/08/2009           1014      Ben Johnston                         Break Up Fee per Court Order dated 12/03/08               2500-000                               $20,000.00      $7,990,919.01
01/09/2009            (41)     The Plexus Groupe, Inc.              Refund due to insurance policy cancellations              1290-000          $10,119.92                           $8,001,038.93
01/30/2009           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.2000%                               1270-000           $1,322.24                           $8,002,361.17
02/23/2009           1015      NowRecords                           Invoice dated 01/31/09 per Court Order dated 10/06/08     2420-000                                   $422.19     $8,001,938.98
02/27/2009           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.2000%                               1270-000           $1,225.63                           $8,003,164.61
03/10/2009                     From Account #********9866           Transfer to MMA                                           9999-000          $20,000.00                           $8,023,164.61
03/31/2009           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.2000%                               1270-000           $1,403.17                           $8,024,567.78
04/06/2009            (14)     Unum Fund Administrator              Insurance premium refund                                  1121-000              $45.69                           $8,024,613.47
04/20/2009           1016      Rubin & Levin                        Attorney for CC Fees per Court Order dated 12/24/08       6700-140                             $217,925.00       $7,806,688.47
04/20/2009           1016      Rubin & Levin                        Attorney for CC Fees per Court Order dated 12/24/08       6700-143                            ($217,925.00)      $8,024,613.47

                                                                                                                             SUBTOTALS         $639,175.18         $368,475.38
                                     Case 08-02172-RLM-7A           Doc 1006           Filed 04/28/17
                                                                                           FORM   2               EOD 04/28/17 17:48:10          Pg 23 of Page
                                                                                                                                                          35 No: 16
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                              Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                               Bank Name:                        JPMORGAN CHASE BANK,
                                                                                                                                                               N.A.
Primary Taxpayer ID #:             **-***7780                                                                                Money Market Acct #:              ******9865
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                    Money Market Account
For Period Beginning:              4/1/2016                                                                                  Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                 Separate bond (if applicable):

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   Transaction       Check /                           Paid to/            Description of Transaction                         Uniform          Deposit        Disbursement          Balance
      Date            Ref. #                        Received From                                                            Tran Code           $                 $


04/30/2009           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.2000%                              1270-000           $1,316.83                           $8,025,930.30
05/29/2009           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.2000%                              1270-000           $1,273.15                           $8,027,203.45
06/04/2009            (42)     United States Treasury               Tax Refund                                               1224-000           $4,781.06                           $8,031,984.51
06/04/2009           1017      The Plexus Groupe LLC                D&O Insurance Policy per Court Order dated 05/28/09      2420-750                                  $6,735.00    $8,025,249.51
06/04/2009           1018      BGBC Partners, LLP                   Financial Advisor & Accountant Fees for Trustee per      3410-000                               $20,957.00      $8,004,292.51
                                                                    Court Order dated 05/28/09
06/04/2009           1019      BGBC Partners, LLP                   Financial Advisor & Accountant Expenses per Court        3420-000                                   $380.00     $8,003,912.51
                                                                    Order dated 05/28/09
06/30/2009           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.2000%                              1270-000           $1,402.27                           $8,005,314.78
07/06/2009                     To Account #********9866             Transfer funds                                           9999-000                                  $1,500.00    $8,003,814.78
07/07/2009           1020      Rubin & Levin                        Attorney to Trustee Expenses--Costs for Motors TV        3120-000                                   $380.00     $8,003,434.78
                                                                    case
07/07/2009           1020      Rubin & Levin                        Attorney to Trustee Expenses--Costs for Motors TV        3120-003                                  ($380.00)    $8,003,814.78
                                                                    case
07/10/2009            (14)     Rubin & Levin                        A/R                                                      1121-000          $13,580.00                           $8,017,394.78
07/10/2009                     To Account #********9866             Transfer to Checking Account                             9999-000                               $40,000.00      $7,977,394.78
07/16/2009                     To Account #********9866             Transfer to checking                                     9999-000                               $15,000.00      $7,962,394.78
07/31/2009           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.2000%                              1270-000           $1,352.57                           $7,963,747.35
08/17/2009            (14)     Rubin & Levin                        A/R                                                      1121-000          $13,580.00                           $7,977,327.35
08/19/2009            (14)     TOMY Corporation                     A/R                                                      1121-000          $16,701.16                           $7,994,028.51
08/27/2009            (14)     Winstead Attorneys                   A/R                                                      1121-000             $127.81                           $7,994,156.32
08/31/2009           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.2000%                              1270-000           $1,352.10                           $7,995,508.42
09/14/2009            (14)     Rubin & Levin                        A/R                                                      1121-000          $11,195.97                           $8,006,704.39
09/30/2009           (INT)     JPMORGAN CHASE BANK, N.A.            Interest posting at 0.2000%                              1270-000           $1,312.98                           $8,008,017.37
10/14/2009           1021      Rubin & Levin                        Attorney for the Trustee Fees per Court Order dated      3210-000                                  $6,790.00    $8,001,227.37
                                                                    12/24/08 (July, 2009 Invoice)
10/14/2009           1022      Rubin & Levin                        Attorney for Trustee Fees per Court Order dated          3210-000                                  $2,798.99    $7,998,428.38
                                                                    12/24/08 (August, 2009 Invoice)

                                                                                                                            SUBTOTALS           $67,975.90         $94,160.99
                                     Case 08-02172-RLM-7A         Doc 1006          Filed 04/28/17
                                                                                        FORM   2            EOD 04/28/17 17:48:10                      Pg 24 of Page
                                                                                                                                                                35 No: 17
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         08-02172-RLM                                                                                  Trustee Name:                         Deborah J. Caruso
 Case Name:                       CHAMP CAR WORLD SERIES, LLC                                                                   Bank Name:                            JPMORGAN CHASE BANK,
                                                                                                                                                                      N.A.
Primary Taxpayer ID #:            **-***7780                                                                                    Money Market Acct #:                  ******9865
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                        Money Market Account
For Period Beginning:             4/1/2016                                                                                      Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                3/31/2017                                                                                     Separate bond (if applicable):

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   Transaction       Check /                         Paid to/            Description of Transaction                              Uniform           Deposit          Disbursement          Balance
      Date            Ref. #                      Received From                                                                 Tran Code            $                   $


11/02/2009           (INT)     JPMORGAN CHASE BANK, N.A.          Interest Earned For November 2009                              1270-000             $1,225.98                           $7,999,654.36
11/02/2009                     Sterling Bank                      Transfer Funds                                                 9999-000                              $7,999,654.36                $0.00

                                                                                   TOTALS:                                                       $8,510,165.63         $8,510,165.63                $0.00
                                                                                       Less: Bank transfers/CDs                                     $20,000.00         $8,178,754.36
                                                                                   Subtotal                                                      $8,490,165.63           $331,411.27
                                                                                       Less: Payments to debtors                                         $0.00                 $0.00
                                                                                   Net                                                           $8,490,165.63           $331,411.27



                     For the period of 4/1/2016 to 3/31/2017                                                 For the entire history of the account between 06/24/2008 to 3/31/2017

                     Total Compensable Receipts:                        $0.00                                Total Compensable Receipts:                             $8,490,165.63
                     Total Non-Compensable Receipts:                    $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                      $0.00                                Total Comp/Non Comp Receipts:                           $8,490,165.63
                     Total Internal/Transfer Receipts:                  $0.00                                Total Internal/Transfer Receipts:                          $20,000.00


                     Total Compensable Disbursements:                   $0.00                                Total Compensable Disbursements:                          $331,411.27
                     Total Non-Compensable Disbursements:               $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                 $0.00                                Total Comp/Non Comp Disbursements:                        $331,411.27
                     Total Internal/Transfer Disbursements:             $0.00                                Total Internal/Transfer Disbursements:                  $8,178,754.36
                                       Case 08-02172-RLM-7A          Doc 1006           Filed 04/28/17
                                                                                            FORM   2               EOD 04/28/17 17:48:10           Pg 25 of Page
                                                                                                                                                            35 No: 18
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                               Trustee Name:                       Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                Bank Name:                         JPMORGAN CHASE BANK,
                                                                                                                                                                 N.A.
Primary Taxpayer ID #:             **-***7780                                                                                 Checking Acct #:                   ******9866
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                     Checking Account
For Period Beginning:              4/1/2016                                                                                   Blanket bond (per case limit):      $1,000,000.00
For Period Ending:                 3/31/2017                                                                                  Separate bond (if applicable):

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   Transaction       Check /                            Paid to/            Description of Transaction                         Uniform           Deposit        Disbursement          Balance
      Date            Ref. #                         Received From                                                            Tran Code            $                 $


10/29/2008                     From Account #********9865            Transfer to Checking                                     9999-000            $2,600.00                                 $2,600.00
10/29/2008            101      NowRecords                            Storage Fee per Court Order dated 10/06/08               2420-000                                    $829.12         $1,770.88
10/29/2008            102      IKON Document Services                Administrative expense per Court Order dated 10/21/08    2420-000                                   $1,711.94            $58.94
12/24/2008                     From Account #********9865            transfer to pay Court Ordered Chapter 11 Attorney's      9999-000         $100,000.00                             $100,058.94
                                                                     Fees
12/24/2008            103      Hostetler & Kowalik                   payment of Court Ordered Chapter 11 attorney's fees      3701-000                                $86,299.00        $13,759.94
12/24/2008            104      Hostetler & Kowalik                   Court Ordered payment of Chapter 11 expenses of          3702-000                                   $6,558.13        $7,201.81
                                                                     debtor's attorney
12/29/2008                     From Account #********9865            TRANSFER FUNDS FROM MONEY MARKET TO                      9999-000           $20,000.00                             $27,201.81
                                                                     CHECKING
12/29/2008            105      Gene Cottingham                       Settlement per Court Order                               3731-000                                $10,000.00        $17,201.81
12/29/2008            106      Matthew R. Breeden                    Settlement per Court Order                               6950-720                                $10,000.00          $7,201.81
12/29/2008            106      Matthew R. Breeden                    Settlement per Court Order                               6950-723                               ($10,000.00)       $17,201.81
01/07/2009            (14)     Chase                                 Cashier's Check from Matthew Breeden per Court Order     1121-000           $27,000.00                             $44,201.81
                                                                     dated
01/07/2009            (31)     American Express                      Credit balance refund                                    1229-000                  $4.79                           $44,206.60
01/20/2009            107      BGBC Partners, LLP                    Accountant for the Trustee Fees per the Court Order      3410-000                                   $5,466.39      $38,740.21
                                                                     dated 01/12/09
01/20/2009            108      BGBC Partners, LLP                    Accountant for the Trustee Expenses per Court Order      3420-000                                    $148.13       $38,592.08
                                                                     dated 01/12/09
01/20/2009            109      Norman J. Gallivan, Inc.              Administrative Expense per Court Order dated 01/12/09    3610-000                                   $4,755.00      $33,837.08
01/21/2009            110      ADP                                   Case # 002224186 for payment for prepartion of W-2's     3420-000                                    $476.88       $33,360.20
03/10/2009                     To Account #********9865              Transfer to MMA                                          9999-000                                $20,000.00        $13,360.20
03/10/2009            111      NowRecords                            Payment of Invoice dated 02/28/09                        2420-000                                    $442.59       $12,917.61
03/26/2009            112      NowRecords                            Payment of Invoice dated 12/31/09                        2420-000                                    $422.19       $12,495.42
04/07/2009            113      Wisconsin Dept. of Revenue            Wisconsin State Taxes                                    2820-000                                     $25.00       $12,470.42
04/07/2009            114      Franchise Tax Board                   California Form 568 Tax                                  2820-000                                   $6,800.00        $5,670.42
04/07/2009            115      Franchise Tax Board                   California Form 3536 (LLC) Tax                           5800-000                                    $800.00         $4,870.42

                                                                                                                             SUBTOTALS           $149,604.79        $144,734.37
                                     Case 08-02172-RLM-7A           Doc 1006           Filed 04/28/17
                                                                                           FORM   2               EOD 04/28/17 17:48:10              Pg 26 of Page
                                                                                                                                                              35 No: 19
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         08-02172-RLM                                                                                  Trustee Name:                      Deborah J. Caruso
 Case Name:                       CHAMP CAR WORLD SERIES, LLC                                                                   Bank Name:                        JPMORGAN CHASE BANK,
                                                                                                                                                                  N.A.
Primary Taxpayer ID #:            **-***7780                                                                                    Checking Acct #:                  ******9866
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                    Checking Account
For Period Beginning:             4/1/2016                                                                                      Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                3/31/2017                                                                                     Separate bond (if applicable):

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   Transaction       Check /                           Paid to/            Description of Transaction                            Uniform           Deposit       Disbursement          Balance
      Date            Ref. #                        Received From                                                               Tran Code            $                $


04/07/2009            116      ADP, Inc.                            401K Service-Invoice #400414                                 2990-000                                  $441.67         $4,428.75
04/07/2009            117      NowRecords                           Storage Fees per Court Order dated 10/06/08-Invoice#         2420-000                                  $463.29         $3,965.46
                                                                    M26758
04/09/2009            (14)     Rubin & Levin                        A/R                                                          1121-000           $3,731.98                              $7,697.44
04/09/2009            118      Rubin & Levin                        Attorney for Trustee Fees per Court Order date 08/20/08      3210-000                                  $933.00         $6,764.44
05/11/2009            119      NowRecords                           Payment of Storage Fees/Invoice #M27217 per Court            2420-000                                  $422.19         $6,342.25
                                                                    Order dated 10/06/08
05/13/2009            120      Rubin & Levin                        Costs in the Rocketsports, Inc. matter (R&L File No.         3220-000                                  $380.00         $5,962.25
                                                                    20904345)
05/26/2009            122      ADP, Inc.                            Payroll administrative expense per Court Order dated         2990-000                                 $4,416.70        $1,545.55
                                                                    05/19/09
06/05/2009            123      NowRecords                           Storage Fees for Court Order dated                           2420-000                                  $422.19         $1,123.36
                                                                    10/06/08-Invoice053109
07/06/2009                     From Account #********9865           Transfer funds                                               9999-000           $1,500.00                              $2,623.36
07/06/2009            124      ADP, Inc.                            Payroll administrative fee per Court Order dated 05/19/08    2990-000                                  $361.17         $2,262.19
07/06/2009            125      NowRecords                           Storage fees per Court Order dated 10/16/08                  2420-000                                  $422.19         $1,840.00
07/10/2009                     From Account #********9865           Transfer to Checking Account                                 9999-000          $40,000.00                            $41,840.00
07/10/2009            126      Guardant Auraria Partners, LLC       Post-Petition Lease payment per Court Order dated            2410-000                              $30,000.00        $11,840.00
                                                                    07/29/08
07/10/2009            126      Guardant Auraria Partners, LLC       Post-Petition Lease payment per Court Order dated            2410-003                             ($30,000.00)       $41,840.00
                                                                    07/29/08
07/15/2009            127      Matthew R. Breeden                   Payment of Administrative Expense to Matthew R.              3731-000                                  $930.00       $40,910.00
                                                                    Breeden per Court Order dated 07/09/09
07/15/2009            128      Quadrant Auraria Partners, LLC       Post-petition lease payment per Court Order dated            2410-000                              $30,000.00        $10,910.00
                                                                    07/29/08
07/16/2009                     From Account #********9865           Transfer to checking                                         9999-000          $15,000.00                            $25,910.00
07/16/2009            129      Rubin & Levin                        Attorney for Trustee Expenses--Beata Parzmowska              3220-000                                  $380.00       $25,530.00
                                                                    litigation costs


                                                                                                                                SUBTOTALS          $60,231.98         $39,572.40
                                     Case 08-02172-RLM-7A            Doc 1006           Filed 04/28/17
                                                                                            FORM   2                EOD 04/28/17 17:48:10          Pg 27 of Page
                                                                                                                                                            35 No: 20
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                                Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                 Bank Name:                        JPMORGAN CHASE BANK,
                                                                                                                                                                 N.A.
Primary Taxpayer ID #:             **-***7780                                                                                  Checking Acct #:                  ******9866
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                    Checking Account
For Period Beginning:              4/1/2016                                                                                    Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                   Separate bond (if applicable):

       1                2                                   3                                       4                                               5                6                  7

   Transaction       Check /                            Paid to/            Description of Transaction                          Uniform           Deposit       Disbursement          Balance
      Date            Ref. #                         Received From                                                             Tran Code            $                $


07/16/2009            130      Ingram Entertainment, Inc.            Payment of Certain Lease Related Expenses per Court       2410-000                               $13,734.72        $11,795.28
                                                                     Order dated 05/04/09
08/18/2009            131      NowRecords                            Invoice dated 07/31/09 per Court Order dated 10/06/08     2420-000                                   $422.19       $11,373.09
09/03/2009            132      NowRecords                            Storage Fees per Court Order dated 10/06/08               2420-000                                   $422.19       $10,950.90
09/10/2009            133      ADP, Inc.                             Payroll Administrative Expense per Court Order dated      2990-000                                   $361.17       $10,589.73
                                                                     05/19/08
10/07/2009            134      NowRecords                            Storage Fees per Court Order dated 10/06/08-Invoice       2420-000                                   $422.19       $10,167.54
                                                                     #M29570
10/14/2009            135      Connor & Associates                   Copies of Deposition per Court Order dated 10/09/09       2990-000                                  $2,784.00        $7,383.54
10/14/2009            136      France Corbeil                        Witness Costs per Court Order dated 10/09/09              2990-000                                  $3,596.32        $3,787.22
10/14/2009            136      France Corbeil                        Witness Costs per Court Order dated 10/09/09              2990-003                               ($3,596.32)         $7,383.54
10/26/2009                     JP Morgan Chase                       Wire Transfer to France Corbel for Witness Fee per        2990-000                                  $3,596.32        $3,787.22
                                                                     Court Order dated 10/09/09
11/02/2009                     Sterling Bank                         Transfer Funds                                            9999-000                                  $3,032.64          $754.58
12/01/2009            121      Norman J. Gallivan, INc.              Reimburse Auctioneers Expense per Court Order dated       3620-000                                   $754.58               $0.00
                                                                     05/21/09




                                                                                                                              SUBTOTALS                 $0.00        $25,530.00
                                    Case 08-02172-RLM-7A          Doc 1006       Filed 04/28/17
                                                                                     FORM   2            EOD 04/28/17 17:48:10                     Pg 28 of Page
                                                                                                                                                            35 No: 21
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          08-02172-RLM                                                                               Trustee Name:                         Deborah J. Caruso
Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                Bank Name:                            JPMORGAN CHASE BANK,
                                                                                                                                                                   N.A.
Primary Taxpayer ID #:            **-***7780                                                                                 Checking Acct #:                      ******9866
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                        Checking Account
For Period Beginning:             4/1/2016                                                                                   Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                3/31/2017                                                                                  Separate bond (if applicable):

      1                 2                                3                                    4                                                    5                   6                 7

  Transaction        Check /                         Paid to/         Description of Transaction                              Uniform           Deposit          Disbursement          Balance
     Date             Ref. #                      Received From                                                              Tran Code            $                   $


                                                                                TOTALS:                                                         $209,836.77           $209,836.77                $0.00
                                                                                    Less: Bank transfers/CDs                                    $179,100.00            $23,032.64
                                                                                Subtotal                                                         $30,736.77           $186,804.13
                                                                                    Less: Payments to debtors                                         $0.00                 $0.00
                                                                                Net                                                              $30,736.77           $186,804.13



                     For the period of 4/1/2016 to 3/31/2017                                              For the entire history of the account between 10/29/2008 to 3/31/2017

                     Total Compensable Receipts:                     $0.00                                Total Compensable Receipts:                                $30,736.77
                     Total Non-Compensable Receipts:                 $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $0.00                                Total Comp/Non Comp Receipts:                              $30,736.77
                     Total Internal/Transfer Receipts:               $0.00                                Total Internal/Transfer Receipts:                         $179,100.00


                     Total Compensable Disbursements:                $0.00                                Total Compensable Disbursements:                          $186,804.13
                     Total Non-Compensable Disbursements:            $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:              $0.00                                Total Comp/Non Comp Disbursements:                        $186,804.13
                     Total Internal/Transfer Disbursements:          $0.00                                Total Internal/Transfer Disbursements:                     $23,032.64
                                     Case 08-02172-RLM-7A          Doc 1006            Filed 04/28/17
                                                                                           FORM   2                 EOD 04/28/17 17:48:10          Pg 29 of Page
                                                                                                                                                            35 No: 22
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                                Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                 Bank Name:                         Sterling Bank
Primary Taxpayer ID #:             **-***7780                                                                                  Checking Acct #:                  ******2172
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                    DDA
For Period Beginning:              4/1/2016                                                                                    Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                   Separate bond (if applicable):

       1                2                                 3                                           4                                             5                6                  7

   Transaction       Check /                          Paid to/             Description of Transaction                           Uniform           Deposit       Disbursement          Balance
      Date            Ref. #                       Received From                                                               Tran Code            $                $


11/02/2009                     JPMORGAN CHASE BANK, N.A.           Transfer Funds                                              9999-000           $3,032.64                                 $3,032.64
11/05/2009            101      NowRecords                          Per Court Order Dated 10/06/08 for invoice dated            2420-000                                  $449.49          $2,583.15
                                                                   10/31/09
11/05/2009            102      ADP, Inc.                           Per Court Order Dated 05/19/07 for Invoice dated            2990-000                                  $361.17          $2,221.98
                                                                   10/23/09
11/24/2009            103      Rubin & LEvin, PC                   Reimbursement of Court Costs for the Rocketsports, Inc.     3220-000                                  $350.00          $1,871.98
                                                                   matter (File No. 20904345)
12/03/2009            104      ADP, Inc.                           Per Court Order Dated 11-09-09 for Invoice #573322          2990-000                                  $361.17          $1,510.81
01/06/2010            105      NowRecords                          Per Court Order Dated 10/06/08 for Invoice Date             2420-000                                  $422.19          $1,088.62
                                                                   12/31/2009
02/18/2010            106      Office 360                          Per Court Order dated 10/06/08 for Invoice M31565 for       2410-000                                  $422.19             $666.43
                                                                   storage fees (Formerly NowRecords)
03/09/2010            107      Office 360                          Per Court Order dated 10/06/08 for Invoice M32059 for       2420-000                                  $422.19             $244.24
                                                                   storage fees (Formerly NowRecords)
04/09/2010                     Transfer From Acct#******2172       Transfer to checking account                                9999-000             $500.00                                  $744.24
04/09/2010            108      Office 360                          Per Court Order dated 10/06/08 for Invoice M32562           2420-000                                  $422.19             $322.05
                                                                   dated 03/31/10
04/12/2010            (39)     American Arbitration Association    Refund of arbitration fee (preference settled)              1241-000           $6,000.00                               $6,322.05
04/16/2010            (39)     Rubin & Levin                       Return of costs re: Rocketsports, Inc. matter               1241-000             $348.00                               $6,670.05
05/11/2010            109      Office 360                          Per Court Order dated 10/06/08 for Invoice M32059 for       2420-000                                  $422.19          $6,247.86
                                                                   storage fees (Formerly NowRecords
05/12/2010            (14)     Street & Smith's Sports Group       Preferential transfer settlement                            1121-000           $5,232.50                             $11,480.36
06/02/2010            110      Office 360                          Per Court Order dated 06/08/10 for Invoice M33553 for       2420-000                                  $422.19        $11,058.17
                                                                   storage fees (Formerly NowRecords)
07/09/2010            111      Office 360                          Per Court Order dated 10/06/08 for Invoice M34074 for       2420-000                                  $422.19        $10,635.98
                                                                   storage fees (Formerly NowRecords)
07/16/2010            112      Frost Motorsport, LLC               Per Court Order Dated 02/25/10 for retainer as              3731-000                               $10,000.00             $635.98
                                                                   Consultants for the Trustee
08/06/2010            113      Office 360                          Per Court Order dated 06/08/10 for Invoice M34589 for       2420-000                                  $422.19             $213.79
                                                                   storage fees (Formerly NowRecords)
                                                                                                                              SUBTOTALS           $15,113.14         $14,899.35
                                     Case 08-02172-RLM-7A          Doc 1006            Filed 04/28/17
                                                                                           FORM   2              EOD 04/28/17 17:48:10             Pg 30 of Page
                                                                                                                                                            35 No: 23
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         08-02172-RLM                                                                                Trustee Name:                      Deborah J. Caruso
 Case Name:                       CHAMP CAR WORLD SERIES, LLC                                                                 Bank Name:                         Sterling Bank
Primary Taxpayer ID #:            **-***7780                                                                                  Checking Acct #:                  ******2172
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                    DDA
For Period Beginning:             4/1/2016                                                                                    Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                3/31/2017                                                                                   Separate bond (if applicable):

       1                2                               3                                          4                                                5               6                  7

   Transaction       Check /                          Paid to/            Description of Transaction                           Uniform           Deposit       Disbursement          Balance
      Date            Ref. #                       Received From                                                              Tran Code            $                $


09/09/2010                     Transfer From Acct#******2172       Transfer to check for disbursments.                         9999-000           $2,000.00                                $2,213.79
09/09/2010            114      Office 360                          Per Court Order Dated 10/06/08 for Invoice #M35116          2420-000                                  $422.19         $1,791.60
                                                                   dated 08/31/10
09/24/2010                     Transfer From Acct#**3921           Transfer to checking account for payment of attorney        9999-000          $19,000.00                            $20,791.60
                                                                   fees.
09/24/2010            115      Rubin & Levin, PC                   Attorney Fees (Grupo Matter) per Court Order dated          3210-000                              $18,750.00          $2,041.60
                                                                   08/20/2008
09/24/2010            116      Rubin & Levin, PC                   Attorney Expenses (Grupo Matter) per Court Order            3220-000                                   $11.64         $2,029.96
                                                                   dated 08/20/2008
11/05/2010            117      Office 360                          Per Court Order Dated 10/06/08 for Invoice #M35658          2420-000                                  $422.19         $1,607.77
                                                                   dated 09/30/10
11/05/2010            118      Office 360                          Per Court Order Dated 10/06/08 for Invoice #M36202          2420-000                                  $518.49         $1,089.28
                                                                   dated 10/31/10
12/07/2010            119      Office 360                          Per Court Order Dated 10/06/08 for Invoice #M36747          2420-000                                  $422.19            $667.09
                                                                   dated 11/30/10
01/10/2011            120      Office 360                          Per Court Order Dated 10/06/08 for Invoice #M37357          2420-000                                  $422.19            $244.90
                                                                   dated 12/31/10
01/24/2011                     Transfer From Acct#**3921                                                                       9999-000           $7,250.00                              $7,494.90
01/24/2011            121      Frost Motorsports, LLC              Consultant Fees per Court Order dated 01/18/2011            3731-000                                 $7,250.00           $244.90
01/24/2011            121      VOID: Frost Motorsports, LLC                                                                    3731-003                              ($7,250.00)         $7,494.90
01/24/2011            122      Frost Motorsports, LLC              Consultant Fees per Court Order dated 01/18/2011            3731-000                                 $7,250.00           $244.90
06/09/2011                     Transfer From Acct#**1999           transfer funds to pay Court Ordered Administrative claim    9999-000        $100,000.00                            $100,244.90
                                                                   of Global Media Services
06/13/2011            123      Global Media Services               payment to vendor                                           2990-000                              $71,656.00        $28,588.90
07/27/2011                     Bank of Texas                       Transfer Funds                                              9999-000                              $28,588.90                $0.00




                                                                                                                              SUBTOTALS          $128,250.00       $128,463.79
                                    Case 08-02172-RLM-7A          Doc 1006       Filed 04/28/17
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                                                                                                                                                            35 No: 24
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          08-02172-RLM                                                                               Trustee Name:                         Deborah J. Caruso
Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                Bank Name:                            Sterling Bank
Primary Taxpayer ID #:            **-***7780                                                                                 Checking Acct #:                      ******2172
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                        DDA
For Period Beginning:             4/1/2016                                                                                   Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                3/31/2017                                                                                  Separate bond (if applicable):

      1                 2                                3                                    4                                                    5                   6                 7

  Transaction        Check /                         Paid to/         Description of Transaction                              Uniform           Deposit          Disbursement          Balance
     Date             Ref. #                      Received From                                                              Tran Code            $                   $


                                                                                TOTALS:                                                         $143,363.14           $143,363.14                $0.00
                                                                                    Less: Bank transfers/CDs                                    $131,782.64            $28,588.90
                                                                                Subtotal                                                         $11,580.50           $114,774.24
                                                                                    Less: Payments to debtors                                         $0.00                 $0.00
                                                                                Net                                                              $11,580.50           $114,774.24



                     For the period of 4/1/2016 to 3/31/2017                                              For the entire history of the account between 11/02/2009 to 3/31/2017

                     Total Compensable Receipts:                     $0.00                                Total Compensable Receipts:                                $11,580.50
                     Total Non-Compensable Receipts:                 $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $0.00                                Total Comp/Non Comp Receipts:                              $11,580.50
                     Total Internal/Transfer Receipts:               $0.00                                Total Internal/Transfer Receipts:                         $131,782.64


                     Total Compensable Disbursements:                $0.00                                Total Compensable Disbursements:                          $114,774.24
                     Total Non-Compensable Disbursements:            $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:              $0.00                                Total Comp/Non Comp Disbursements:                        $114,774.24
                     Total Internal/Transfer Disbursements:          $0.00                                Total Internal/Transfer Disbursements:                     $28,588.90
                                      Case 08-02172-RLM-7A          Doc 1006           Filed 04/28/17
                                                                                           FORM   2               EOD 04/28/17 17:48:10          Pg 32 of Page
                                                                                                                                                          35 No: 25
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                              Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                               Bank Name:                         Sterling Bank
Primary Taxpayer ID #:             **-***7780                                                                                Money Market Acct #:              ******2172
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                    MMA
For Period Beginning:              4/1/2016                                                                                  Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                 Separate bond (if applicable):

       1                2                                  3                                          4                                           5                6                  7

   Transaction       Check /                           Paid to/            Description of Transaction                         Uniform           Deposit       Disbursement          Balance
      Date            Ref. #                        Received From                                                            Tran Code            $                $


11/02/2009                     JPMORGAN CHASE BANK, N.A.            Transfer Funds                                           9999-000        $7,999,654.36                          $7,999,654.36
11/10/2009           1001      ADP, Inc.                            Per Court Order Dated 11/06/09 for multiple invoices     2990-000                                  $2,535.02    $7,997,119.34
11/17/2009                     Transfer To Acct#**1999              Transfer to open CD                                      9999-000                             $300,000.00       $7,697,119.34
11/17/2009                     Transfer To Acct#**1998              Transfer to open CD                                      9999-000                            $7,650,000.00        $47,119.34
11/20/2009           1002      Preferred Imaging                    Per Court Order Dated 11/16/09 for data management       2990-000                                  $5,996.71      $41,122.63
                                                                    company's fees
11/30/2009           (INT)     Sterling Bank                        Interest Earned For November                             1270-000             $494.05                             $41,616.68
12/30/2009           1003      ADP, Inc.                            Per Court Order Dated 11/16/09 for Invoice #594368       2990-000                                   $361.17       $41,255.51
12/30/2009           1004      NowRecords                           Per Court Order Dated 10/06/08 for Invoice dated         2420-000                                   $422.19       $40,833.32
                                                                    11/30/09
12/31/2009           (INT)     Sterling Bank                        Interest Earned For December                             1270-000                 $1.78                           $40,835.10
01/29/2010           (INT)     Sterling Bank                        Interest Earned For January                              1270-000                 $1.74                           $40,836.84
02/19/2010           1005      Matthew R. Breeden                   Per Court Order Dated 01/07/10                           3731-000                                   $600.00       $40,236.84
02/19/2010           1006      Gene Cottingham                      Per Court Order Dated 02/16/10                           3731-000                                   $300.00       $39,936.84
02/26/2010           (INT)     Sterling Bank                        Interest Earned For February                             1270-000                 $1.56                           $39,938.40
03/31/2010           (INT)     Sterling Bank                        Interest Earned For March                                1270-000                 $1.70                           $39,940.10
04/09/2010            (39)     Hoover Hull LLP                      Settlement of preference action                          1241-000          $16,092.00                             $56,032.10
04/09/2010                     Transfer To Acct#******2172          Transfer to checking account                             9999-000                                   $500.00       $55,532.10
04/30/2010           (INT)     Sterling Bank                        Interest Earned For April                                1270-000                 $2.00                           $55,534.10
05/28/2010           (INT)     Sterling Bank                        Interest Earned For May                                  1270-000                 $2.36                           $55,536.46
06/25/2010            (39)     Blue Horseshoe Solutions, Inc.       Settlement of preference action (AP 10-500959)           1241-000           $1,500.00                             $57,036.46
06/30/2010           (INT)     Sterling Bank                        Interest Earned For June                                 1270-000                 $2.28                           $57,038.74
07/09/2010            (39)     Westin Hotels & Resorts              Settlement of preference action                          1241-000          $28,000.00                             $85,038.74
07/30/2010           (INT)     Sterling Bank                        Interest Earned For July                                 1270-000                 $3.11                           $85,041.85
08/05/2010            (39)     Mark J. Perrone                      Settlement of preference action w/Mark Perrone &         1241-000             $583.00                             $85,624.85
                                                                    SportServe
08/31/2010           (INT)     Sterling Bank                        Interest Earned For August                               1270-000                 $3.63                           $85,628.48
09/03/2010            (14)     Taft Stettinius & Hollister, LLP     A/R re: Grupo matter.                                    1121-000          $75,000.00                            $160,628.48

                                                                                                                            SUBTOTALS        $8,121,343.57      $7,960,715.09
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                                                                                           FORM   2                  EOD 04/28/17 17:48:10          Pg 33 of Page
                                                                                                                                                             35 No: 26
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          08-02172-RLM                                                                                 Trustee Name:                      Deborah J. Caruso
 Case Name:                        CHAMP CAR WORLD SERIES, LLC                                                                  Bank Name:                         Sterling Bank
Primary Taxpayer ID #:             **-***7780                                                                                   Money Market Acct #:              ******2172
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                    MMA
For Period Beginning:              4/1/2016                                                                                     Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 3/31/2017                                                                                    Separate bond (if applicable):

       1                2                                  3                                          4                                              5                6                  7

   Transaction       Check /                           Paid to/            Description of Transaction                            Uniform          Deposit        Disbursement          Balance
      Date            Ref. #                        Received From                                                               Tran Code           $                 $


09/09/2010            (39)     Cynthia and Mark Perrone             Settlement of preference action w/Mark Perrone &            1241-000             $583.00                            $161,211.48
                                                                    SportServe
09/09/2010                     Transfer To Acct#******2172          Transfer to check for disbursments.                         9999-000                                  $2,000.00     $159,211.48
09/10/2010                     Transfer To Acct#**3921              Transfer to CD account                                      9999-000                             $150,000.00           $9,211.48
09/22/2010           1007      Precision Land Clearing, Inc.        Per Court Order dated 09/20/10 for storage of bridges       2420-000                                  $5,500.00        $3,711.48
09/30/2010           (INT)     Sterling Bank                        Interest Earned For September                               1270-000                 $1.21                             $3,712.69
10/04/2010            (39)     Liberty                              Settlement of preference action--Cameron Steele Matter      1241-000           $4,000.00                               $7,712.69
10/08/2010            (39)     Cynthia J Perrone & Mark Perrone     Settlement of preference action                             1241-000             $583.00                               $8,295.69
10/15/2010            (43)     Rubin & Levin                        Return of enexpended costs in the Grupo Matter              1290-000             $152.00                               $8,447.69
10/29/2010           (INT)     Sterling Bank                        Interest Earned For October                                 1270-000                 $0.44                             $8,448.13
11/30/2010           (INT)     Sterling Bank                        Interest Earned For November                                1270-000                 $0.35                             $8,448.48
12/20/2010           1008      Hostetler & Kowalik, PC              Debtor's Attorney's Fees per Court Order dated              3701-000                                  $6,847.00        $1,601.48
                                                                    12/17/2010
12/20/2010           1009      HOSTETLER & KOWALIK                  Debtor's Attorney's Expenses per Court Order dated          3702-000                                   $116.95         $1,484.53
                                                                    12/17/2010
12/31/2010           (INT)     Sterling Bank                        Interest Earned For December                                1270-000                 $0.32                             $1,484.85
01/07/2011            (44)     The Plexus Groupe LLC                Refund due to cancelled insurance policy                    1290-000             $257.65                               $1,742.50
01/31/2011           (INT)     Sterling Bank                        Interest Earned For January                                 1270-000                 $0.07                             $1,742.57
02/04/2011           1010      Office 360                           Per Court Order Dated 10/06/08 for Invoice #M37903          2420-000                                   $422.19         $1,320.38
                                                                    dated 01/31/11
02/28/2011           (INT)     Sterling Bank                        Interest Earned For February                                1270-000                 $0.06                             $1,320.44
03/04/2011           1011      Office 360                           Per Court Order Dated 10/06/08 for Invoice #M38481          2420-000                                   $422.19           $898.25
                                                                    dated 01/31/11
03/31/2011           (INT)     Sterling Bank                        Interest Earned For March                                   1270-000                 $0.04                               $898.29
04/08/2011           1012      Office 360                           Per Court Order Dated 10/06/08 for Invoice #M39094          2420-000                                   $422.19           $476.10
                                                                    dated 03/31/11
04/29/2011           (INT)     Sterling Bank                        Interest Earned For April                                   1270-000                 $0.03                               $476.13
05/31/2011           (INT)     Sterling Bank                        Interest Earned For May                                     1270-000                 $0.02                               $476.15
06/30/2011           (INT)     Sterling Bank                        Interest Earned For June                                    1270-000                 $0.02                               $476.17
                                                                                                                               SUBTOTALS            $5,578.21        $165,730.52
                                     Case 08-02172-RLM-7A         Doc 1006           Filed 04/28/17
                                                                                         FORM   2            EOD 04/28/17 17:48:10                     Pg 34 of Page
                                                                                                                                                                35 No: 27
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         08-02172-RLM                                                                                   Trustee Name:                         Deborah J. Caruso
 Case Name:                       CHAMP CAR WORLD SERIES, LLC                                                                    Bank Name:                            Sterling Bank
Primary Taxpayer ID #:            **-***7780                                                                                     Money Market Acct #:                  ******2172
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                        MMA
For Period Beginning:             4/1/2016                                                                                       Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                3/31/2017                                                                                      Separate bond (if applicable):

       1                2                                3                                        4                                                     5                  6                 7

   Transaction       Check /                         Paid to/            Description of Transaction                               Uniform            Deposit         Disbursement          Balance
      Date            Ref. #                      Received From                                                                  Tran Code             $                  $


07/14/2011                     Transfer From: #**3921                                                                             9999-000          $123,803.94                             $124,280.11
07/25/2011                     Transfer From: #**1998                                                                             9999-000        $6,641,206.89                            $6,765,487.00
07/25/2011                     Transfer From: #**1999                                                                             9999-000          $201,037.05                            $6,966,524.05
07/27/2011           (INT)     Sterling Bank                      Interest Earned For July 2011                                   1270-000               $58.97                            $6,966,583.02
07/27/2011                     Bank of Texas                      Transfer Funds                                                  9999-000                              $6,966,583.02                $0.00

                                                                                    TOTALS:                                                       $15,093,028.63       $15,093,028.63                $0.00
                                                                                        Less: Bank transfers/CDs                                  $14,965,702.24       $15,069,083.02
                                                                                    Subtotal                                                         $127,326.39           $23,945.61
                                                                                        Less: Payments to debtors                                          $0.00                $0.00
                                                                                    Net                                                              $127,326.39           $23,945.61



                     For the period of 4/1/2016 to 3/31/2017                                                  For the entire history of the account between 11/02/2009 to 3/31/2017

                     Total Compensable Receipts:                        $0.00                                 Total Compensable Receipts:                               $127,326.39
                     Total Non-Compensable Receipts:                    $0.00                                 Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                      $0.00                                 Total Comp/Non Comp Receipts:                             $127,326.39
                     Total Internal/Transfer Receipts:                  $0.00                                 Total Internal/Transfer Receipts:                      $14,965,702.24


                     Total Compensable Disbursements:                   $0.00                                 Total Compensable Disbursements:                           $23,945.61
                     Total Non-Compensable Disbursements:               $0.00                                 Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                 $0.00                                 Total Comp/Non Comp Disbursements:                         $23,945.61
                     Total Internal/Transfer Disbursements:             $0.00                                 Total Internal/Transfer Disbursements:                 $15,069,083.02
                                    Case 08-02172-RLM-7A          Doc 1006        Filed 04/28/17
                                                                                      FORM   2      EOD 04/28/17 17:48:10                    Pg 35 of Page
                                                                                                                                                      35 No: 28
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         08-02172-RLM                                                                          Trustee Name:                         Deborah J. Caruso
Case Name:                       CHAMP CAR WORLD SERIES, LLC                                                           Bank Name:                            Sterling Bank
Primary Taxpayer ID #:           **-***7780                                                                            Money Market Acct #:                  ******2172
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                        MMA
For Period Beginning:            4/1/2016                                                                              Blanket bond (per case limit):        $1,000,000.00
For Period Ending:               3/31/2017                                                                             Separate bond (if applicable):

      1                 2                                3                                     4                                              5                  6                 7

  Transaction        Check /                         Paid to/          Description of Transaction                       Uniform            Deposit         Disbursement          Balance
     Date             Ref. #                      Received From                                                        Tran Code             $                  $




                                                                                                                                                                     NET           ACCOUNT
                                                                                 TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE          BALANCES

                                                                                                                                        $8,717,166.90       $8,715,068.40            $2,098.50




                     For the period of 4/1/2016 to 3/31/2017                                        For the entire history of the case between 06/23/2008 to 3/31/2017

                     Total Compensable Receipts:                      $0.00                         Total Compensable Receipts:                             $8,717,166.90
                     Total Non-Compensable Receipts:                  $0.00                         Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $0.00                         Total Comp/Non Comp Receipts:                           $8,717,166.90
                     Total Internal/Transfer Receipts:                $0.00                         Total Internal/Transfer Receipts:                      $30,391,756.80


                     Total Compensable Disbursements:                $40.14                         Total Compensable Disbursements:                        $8,715,068.40
                     Total Non-Compensable Disbursements:             $0.00                         Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:              $40.14                         Total Comp/Non Comp Disbursements:                      $8,715,068.40
                     Total Internal/Transfer Disbursements:           $0.00                         Total Internal/Transfer Disbursements:                 $30,391,756.80




                                                                                                                    /s/ DEBORAH J. CARUSO
                                                                                                                    DEBORAH J. CARUSO
